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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                       CORPUS CHRISTI DIVISION


    Arturo Garza, LaQuinta Jones, and Doris       Civil Action File No._______
    Morales; Individually, and on behalf of all
    others similarly situated,


                         Plaintiffs,
                                                  Jury Trial Demanded

    v.


    Herrman & Herrman, PLLC, Greg
    Herrman, Steven C. Stratso, Kyzmyck
    Byerly, Rodney Glenn, Hector Luna,
    and Does 1 through 100,


                         Defendants.


                 ORIGINAL CLASS ACTION COMPLAINT
                    AND DEMAND FOR JURY TRIAL

     COME NOW PLAINTIFFS, Arturo Garza, LaQuinta Jones, and Doris

Morales, individually and on behalf of a class of other similarly situated

individuals, by and through counsel of record, and bring this class action

complaint against Herrman & Herrman, PLLC (“H&H”), Greg Herrman, Steven

C. Stratso, Kyzmyck Byerly, Rodney Glenn, Hector Luna, and Does 1 through 100

(specifically unknown associates and/or employees of H&H) (collectively
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“Defendants”) based upon their fraudulent billing and collection practices netting

them hundreds of thousands of dollars in illicit, hidden profit from unsuspecting

clients and based on their unlawful contracting to retain exclusive control over

their clients’ ability to settle claims. Plaintiffs’ allegations are based upon personal

knowledge as to themselves and their own acts and experiences and, as to all other

matters, upon information and belief, including investigation conducted by

Plaintiffs’ attorneys.

                                 INTRODUCTION

      1.     This is a case of egregious attorney misconduct giving rise to civil

liability under the Racketeer Influenced and Corrupt Organizations Act (“RICO”),

18 U.S.C. §1961 et seq. For nearly three years, Greg Herrman, managing partner of

H&H, aided by associates and employees, systematically defrauded clients out of

more than $600,000 through fraudulent billing practices in cases resolved without

litigation. The scheme works as follows:

      2.     For the last three years, Herrman attorneys and staff have signed up

clients while representing to them that, for pre-litigation cases, they will be

charged a $195 administrative flat fee to cover copies, postage, long-distance

phone calls, scanned documents, faxes, and miscellaneous supplies.



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      3.    They sell the “administrative fee” as a cost-saving measure for clients.

Specifically, the representation agreement, prepared by Herrman and his

attorneys and staff, informs clients that, unlike prelitigation clients who pay only

$195, clients who file suit must pay “all expenses.”1 The representation agreement

leaves the client with the impression that the $195 “administrative fee” is designed

to save pre-litigation clients money.

      4.    In fact, the “administrative fee” is anything but a benefit to the client.

Administrative expenses in prelitigation cases are almost always a tiny fraction of

the $195 “administrative fee.”

      5.    For example, Herrman and his associates charged client, LaQuinta

Jones, the $195 “administrative fee” when actual administrative expenses were

$18.60.2 They charged client, Arturo Garza, $195 when actual administrative




1 Ex. 1 at 1, July 8, 2019 H&H Representation Agreement with Arturo Garza; Ex. 2
at 1, September 20, 2019 H&H Representation Agreement with Arturo Garza; Ex.
3 at 1, November 11, 2019 H&H Representation Agreement with LaQuinta Jones;
Ex. 4 at 1, September 20, 2019 H&H Representation Agreement with Doris
Morales.
2 Ex. 5 at 5−6 (supplemental answer to interrogatory 9), LaQuinta Jones v. Greg

Herrman Attorney at Law & Herrman & Herrman PLLC, H&H’s First Supplemental
Answers to Plaintiff LaQuinta Jones’ First Set of Interrogatories, Case No.
2021DCV-2168-C (94th Dist. Ct. Nueces County, Texas). $15.00 of the
administrative expenses for Jones were characterized as “Contract/file/calls

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expenses were $18.22.3 And they charged Doris Morales $195 when actual

administrative expenses were $7.55.4

    Client            “Administrative    Actual            Profit        Markup
                      Fee”               Administrative
                                         Expenses
    LaQuinta      $195                   $18.60            $176.40       1,048%
    Jones
    Arturo Garza $195                    $18.22            $176.78       1,070%
    Doris Morales $195                   $7.55             $187.45       2,582%

           6.    Herrman and his associates have many years of experience as

personal injury attorneys and have resolved thousands of personal injury cases.5

They know actual administrative expenses for prelitigation clients rarely approach

anything close to $195. In most cases, the “administrative fee” represents a 1000%

to 2000% markup of actual expenses.




expense” and appear to be just a flat fee expense. Thus, the actual administrative
expenses for Jones are actually likely even less.
3   Ex. 6, May 20, 2020 email from Steven Stratso.
4   Id.
5   https://www.herrmanandherrman.com/texas-personal-injury-law-firm/ (last
visited Feb. 2, 2022) (“With over 100 years of combined experience among the legal
team of Herrman & Herrman, P.L.L.C., our Texas personal injury attorneys have
successfully resolved over 20,000 cases”).

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      7.     Herrman and his associates deliberately conceal from their clients the

truth behind the “administrative fee”—that it is pure profit on expenses.

      8.     They never advise their clients, verbally or in writing, that the

“administrative fee” is actually profit for Defendants. To the contrary, they lead

their clients to believe that the $195 is not just a reasonable charge for

administrative expenses, it actually saves them money.

      9.     They also do not tell their clients that some of the so-called expenses

covered under the “administrative fee” are not expenses at all. For example, H&H

does not pay for long-distance phone calls. Yet, they represent this cost as part of

the cost-savings of the $195 “administrative fee.”

      10.    These fraudulent billing practices and misrepresentations violate the

Texas Disciplinary Rules of Professional Conduct;6 specifically, Rule 1.04’s

obligation to communicate the basis of a rate or fee to the client, and Rule

8.04(a)(3)’s prohibition against engaging in conduct involving dishonesty, fraud,

deceit or misrepresentation. See Professional Ethics Committee for the State of




6
 “[T]he Texas Disciplinary Rules of Professional Conduct” set “the minimum standard of
practice” in the Southern District of Texas. LR, Rules of Discipline, Appendix A, Rule 1A.

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Texas: Opinion 594 (Feb. 2010).7 Under the rules of ethics, it is questionable

whether a markup on expenses is permitted at all since “[t]he lawyer's stock in

trade is the sale of legal services, not photocopy paper, tuna fish sandwiches,

computer time or messenger services.” A.B.A. Formal Op 93-379 at 7 (Dec. 1993).8

But what is unquestionably not allowed is attorneys profiting on expenses without

“the client underst[anding] and accept[ing] that the amounts billed by the lawyer

for expenses would include this additional compensation.” Texas Ethics Opinion

594;9 see also A.B.A. Formal Op 93-379;10 cf. Anglo-Dutch Petroleum Int'l, Inc. v.

Greenberg Peden, P.C., 352 S.W.3d 445, 450 (Tex. 2011) (part of lawyer’s fiduciary

duty to a client “is to inform the client of all material facts”); Levine v. Bayne, Snell




7 Ex. 8, Professional Ethics Committee for the State of Texas: Opinion 594 (Feb.
2010),
https://legalethicstexas.com/Ethics-Resources/Opinions/Opinion-594.
8 Ex. 7, A.B.A. Formal Op 93-379 (Dec. 1993).

9Ex. 8 at 2. “Billing more for expenses than the amount paid by the lawyer without
disclosing that fact would constitute a violation of the requirements of Rule 1.04(c)
and Rule 1.03(b) in that the lawyer would not have communicated accurately to
the client the basis for the billing.” In addition, … in the absence of disclosure and
agreement to the contrary, charging, collecting or recouping more for a third-party
expense than the amount actually paid by the lawyer would violate the prohibition
of Rule 8.04(a)(3) against engaging in conduct involving dishonesty, fraud, deceit
or misrepresentation.” Id. (emphasis added).
10   Ex. 7.

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& Krause, Ltd., 40 S.W.3d 92, 96 (Tex. 2001) (“one facet of a lawyer’s duty to the

client … [is] to inform a client of the basis or rate of the fee at the outset of the

matter” and the attorney has the obligation to clarify agreements since the attorney

has “greater knowledge and experience with respect to fee arrangements and

because the trust [the] client has placed in [the attorney]”) (quotation omitted).

         11.   Not only does this fraudulent scheme violate the rules of ethics, but it

constitutes wire fraud under 18 U.S.C. § 1343 because Herrman and his associates

send interstate faxes and emails in furtherance of the scheme. As a matter of

routine practice, Herrman and his associates use email and faxes in its efforts to

collect the fraudulent $195 “administrative fee” from insurers. Their repeated wire

fraud is part of a wider pattern of racketeering activity to collect the fraudulent

“administrative fee.”

         12.   While the $195 charge might appear modest on an individual basis,

Herrman and his Firm book enormous profits through volume. They sign up 30 to

45 clients per week,11 netting them hundreds of thousands of dollars in fraudulent

“administrative fees,” all in violation of RICO, the rules of ethics, and other laws.




11   Ex. 9, Deposition of Hector Luna at 32.

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         13.     In fact, based on a model that assumes the same mark-up percentage

from Plaintiffs’ cases, Defendants over the last three years, have fleeced their

clients of more than $600,000.00. This amount continues to grow because Herrman

and his associates still charge the “administrative fee.”

 Estimated              Estimated       Estimated     Profit                     Markup15
 Potential Clients      Charges     for Actual Admin.
 Charged                Admin. Fees13   Expenses14
 Admin. Fees12
 3,510                  $684,450             $51,912.90            $632,537.10   1,218%



         14.     Herrman and his associates don’t stop there. They exploit their clients

by leveraging their position of trust and getting their clients to sign a contract that

strips them of the ability to settle their claims without H&H’s approval.16




12Based on Luna’s testimony that H&H signs up to 45 clients per week (Ex. 9 at
32), that is up to 2,340 clients per year, or 7,020 over an approximate three years
(March 2019 to present). Conservatively estimating that half of these clients settle
without filing suit, that is 3,510 clients assessed the $195 “administrative fee” since
March 2019.
13   3,510 x $195 = $684,450.
14$18.60 + $18.22 + $7.55 = $44.37 / 3 = $14.79 average actual administrative expense
for the named plaintiffs. $14.79 x 3,510 =$51,912.90.
15   $632,537.10 profit/ $51,912.90 cost = 12.18 X 100% = 1218% markup.
16   Ex. 1 at 2 ¶c; Ex. 2 at 2 ¶c; Ex. 3 at 2 ¶c; Ex. 4 at 2 ¶c.

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      15.    Since at least July 2019, Herrman and his associates have required that

their clients forfeit one of the most important rights a client has—deciding under

what terms to settle claims.17

      16.    Even if a client decides a proposed settlement is in his or her best

interest, he or she cannot settle unless Herrman and his associates are satisfied

with their contingency fees and give their approval. See In re Plaza, 363 B.R. 517,

521-22 (Bankr. S.D. Tex. 2007) (“giving an attorney decision making power over

whether to settle a case or proceed to trial, could force a litigant to hazard the

outcome of litigation in order to secure a higher contingency fee for the attorney”).

      17.    This provision also violates the Texas Disciplinary Rules of

Professional Conduct and renders the representation agreements void as against

public policy. See Tex. Disciplinary R. Prof’l Cond. 1.02(a)(2) & cmt 5 (“the client

may not be asked … to surrender … the right to settle”); In re Plaza, 363 B.R. at 521

(“A clause in a retainer agreement prohibiting the client from settling without the

attorney's consent is void as against public policy”) (quoting ABA Comm. On

Ethics and Prof’l Responsibility, Formal Op. 326 (1970) (quoting Henry S. Drinker,



17Ex. 1 (July 8, 2019 agreement containing the provision giving H&H “complete”
control over settlement).

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Legal Ethics, 101 (Columbia Univ. Press 1953)); see also Lewis v. S.S. Baune, 534 F.2d

1115, 1122 (5th Cir. 1976) (“[c]lauses in a contract between attorney and client

which prohibit a settlement by the client without his attorney's consent are

generally held to be unenforceable as against public policy”). Consequently, every

Herrman contract since at least 2019 is void because of the inclusion of this

unlawful provision.

           18.   Apart from the obvious profit motive, why would Herrman and his

associates take such enormous risks? The answer, at least in part, is that they know

their clients won’t notice. As one H&H employee testified: “It is usually rare, but

every now and then we’ll get maybe an upper middle class, educated person that

wants to look at the contract and has tons of questions or somebody that’s really

finicky, but I can probably count those on one hand a year.”18 In fact, this happens

“maybe once a year.”19

           19.   Indeed, this fraudulent scheme surfaced only after a succession of

clients fired H&H and retained the undersigned counsel to handle their claims.




18   Ex. 9 at 53.
19   Id.

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These former H&H clients filed individual lawsuits in state court, but when more

clients came forward with the same unlawful provisions in their representation

agreements, and when it later became clear that actual administrative expenses are

almost always a tiny percentage of the $195 “administrative fee,” a pattern of fraud

and racketeering emerged. Rather than concede their improprieties, H&H dug in

its heels and adopted a scorched-earth mentality in its efforts to collect the $195

“administrative” fee through the fraudulent use of interstate wires.

      20.    This lawsuit is brought on behalf of Plaintiffs Garza, Jones, and

Morales, and on behalf of all former H&H clients who collectively sustained

hundreds of thousands of dollars in damages from Herrman & his associates’

scheme to charge or attempt to collect the fraudulent $195 “administrative fee” in

violation of RICO and other laws. It also seeks to disgorge H&H, Herrman, and

his associates of attorneys’ fees they received by illegally contracting for absolute

veto power over settlements in violation of clear public policy against that practice.

                                       PARTIES

      21.    Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.




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      22.   Plaintiff Arturo Garza is a natural person and a Texas citizen, residing

in Corpus Christi, Nueces County, Texas. He is a former H&H client.

      23.   Plaintiff LaQuinta Jones is a natural person and a Texas citizen,

residing in Corpus Christi, Nueces County, Texas. She is a former H&H client.

      24.   Plaintiff Doris Morales is a natural person and a Texas citizen,

residing in Corpus Christi, Nueces County, Texas. She is a former H&H client.

      25.   Defendant Greg Herrman is a natural person and a Texas citizen,

residing in Corpus Christi, Nueces County, Texas. He is a licensed Texas attorney.

He is H&H’s managing partner. He may be served with process at his usual place

of business at 1201 3rd Street, Corpus Christi, Texas 78404.

      26.   Defendant Steven C. Stratso is a natural person and a Texas citizen,

residing in Nueces County, Texas. He is a licensed Texas attorney. He is an H&H

associate and may be served with process at his usual place of business at 1201 3rd

Street, Corpus Christi, Texas 78404.

      27.   Defendant Kyzmyck Byerly is a natural person and a Texas citizen,

residing in Nueces County, Texas. She is a licensed Texas attorney. She is an H&H

associate and may be served with process at her usual place of business at 1201

3rd Street, Corpus Christi, Texas 78404.


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         28.   Defendant Rodney Glenn is a natural person and a Texas citizen,

residing in Nueces County, Texas. He is an H&H employee and may be served

with process at his usual place of business at 1201 3rd Street, Corpus Christi, Texas

78404.

         29.   Defendant Hector Luna is a natural person and a Texas citizen,

residing in Nueces County, Texas. He is an H&H employee and may be served

with process at his usual place of business at 1201 3rd Street, Corpus Christi, Texas

78404.

         30.   Defendant Herrman & Herrman, PLLC (“H&H”) is a professional

limited liability company incorporated and existing under the laws of the State of

Texas with its principal place of business at 1201 3rd Street, Corpus Christi, Texas

78404. It may be served with process through its managing partner, Greg

Herrman, at 1201 3rd Street, Corpus Christi, Texas 78404.

         31.   Certain individuals or entities, other than the specifically named and

identified Defendants, may have been involved in the misconduct alleged herein,

and those potential defendants being currently unknown to the Plaintiffs are

designated as Does 1 through 100.




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                           JURISDICTION AND VENUE

      32.    Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.

      33.    18 U.S.C. § 1964(c) creates the civil RICO private cause of action. As

such, Plaintiffs’ RICO claim[s] arise under the laws of the United States and this

Court has federal question subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

      34.    This Court also has federal question jurisdiction over this matter

under the Declaratory Judgment Act, 28 U.S.C. § 2201.

      35.    This Court has supplemental jurisdiction over Plaintiffs’ state law

claims under 28 U.S.C. §1367. The Plaintiffs’ state law claims are so related to their

claims under RICO (18 U.S.C. §§ 1961, et seq) that they form part of the same case

or controversy under Article III of the United States Constitution.

      36.    In the alternative, the Court has original jurisdiction over the claims

in this action pursuant to 28 U.S.C. § 1332(d)(2) because (a) at least one member of

the putative Class is a citizen of a state different from a Defendant, (b) the amount

of controversy exceeds $5,000,000, exclusive of interests and costs, and (c) none of

the exceptions under that subsection apply to this action.




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      37.    This Court has personal jurisdiction over all Defendants pursuant to

18 U.S.C. § 1965(a) insofar as each Defendant resides in Texas in this District and

each conducts business and transacts affairs in Texas in this District.

      38.    Venue is proper in this District under 18 U.S.C. 1965(a) because it is

where Defendants reside, are found, and transact their affairs.

      39.    Venue is also proper in this District under 28 U.S.C. § 1391(b)(1)

insofar as at least one Defendant resides in this District and all Defendants are

Texas residents.

      40.    Venue is also proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to Plaintiffs’ claims

occurred in this District.

                       FACTS COMMON TO ALL COUNTS

      41.    Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.




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I.     Since March 2019, Defendants have executed their Administrative Fee
       Scheme by misrepresenting a $195 “Administrative Fee” as a cost-saving
       benefit when it is actually undisclosed profit on expenses.

       42.   Since at least March 27, 2019, H&H has charged its pre-litigation

clients a $195 “administrative fee.”20

       43.   H&H managing partner, Greg Herrman, directed and continues to

direct his associates and employees to sign-up prelitigation clients using a

standard representation agreement.21

       44.   Each client was required to execute the standard representation

agreement.

       45.   Generally, the standard representation agreement memorialized the

attorney-client relationship between the client and H&H and its lawyers; defined

the scope of and the terms under which H&H and its lawyers would provide the




20Ex. 10 at 3, H&H’s Fourth Supplement to Objections and Answers to Plaintiff
Dorris Morales’ First Set of Interrogatories, Case No. 2020DCV-1662-H (347th Dist.
Ct. Nueces County, Texas). According to H&H, on September 20, 2018, they
initially “started charging $395.00 as the administrative fee … but only collected
$195.00 at the end of the settlement.” Id.
21Id. at 5, Second Supplemental Response to Interrogatory 4 (“The $195
administrative flat fee was decided by Greg Herrman, manager of Herrman &
Herrman, PLLC”).

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client legal services; and specified the fees and expenses clients would be charged

for those services.

          46.    Since at least March 2019—and perhaps even earlier—Herrman, his

associates and employees, and H&H used the same standard representation

agreement to sign up clients.

          47.    Every representation agreement since at least March 2019 informs

clients of a flat $195 “administrative fee” that would completely cover all

administrative costs as long as their case was resolved without filing suit.22

          48.    The representation agreement states that:

                        “[e]ach client whose case is settled without filing a
                        lawsuit will be assessed an administrative fee of
                        $195.00 to cover expenses for the following: black
                        and white photocopies, postage, long distance
                        phone calls, scanned documents, facsimiles, and
                        other miscellaneous supplies.”23

          49.    Defendants knew that the $195 fee would be many multiples of actual

administrative expenses in the vast majority of prelitigation cases. Indeed, in the




22   Ex. 1 at 1; Ex. 2 at 1; Ex. 3 at 1; Ex. 4 at 1.
23   Id. (emphasis original).

                                                 17
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case of Plaintiffs Jones, Garza, and Morales, more than 90% of the “administrative

fee” is pure profit for Defendants.

      50.    They also knew that there is no actual cost incurred for some of the

items covered by their “administrative fee,” including long-distance phone calls.

Nevertheless, Defendants represented and continue to represent that the $195.00

was and is a reasonable “administrative fee.”

      51.    Defendants informed clients through the representation agreement

that the $195 “administrative fee” was a cost-savings measure that was a benefit

to them.

      52.    Critically,   Defendants   never   informed     the   clients   that   the

“administrative fee” is mostly profit. To the contrary, they created the false belief

in their clients that the “administrative fee” is a cost-saving benefit to them.




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         53.    The agreement, prepared by Greg Herrman and/or his associates,

represents that unlike pre-litigation clients who are capped at $195, clients who

file a lawsuit if a lawsuit:

                       “will not incur this fixed charge, but will be
                       charged for all expenses, including the above
                       expenses, incurred in the prosecution of the
                       case.”24

         54.    The client is left with the impression that when a lawsuit is not filed,

he or she will save money by not being charged for all actual expenses.

         55.    In fact, unbeknownst to the client, the “administrative fee” is

concealed as a cash-grab by Defendants.

         56.     The law prohibits attorneys from profiting on costs without first fully

informing their clients.

         57.    Indeed, both the disciplinary rules of the American Bar Association

and Texas Bar Association forbid attorneys from collecting profit on expenses

without express disclosure of the profit to the client. Tex. Disciplinary Rule Prof’l

Conduct R. 1.04(c); ABA Op. 93-379;25 Texas Ethics Op. No. 594.26



24   Ex. 1 at 1; Ex. 2 at 1; Ex. 3 at 1; Ex. 4 at 1 (emphasis original).
25   Ex. 7.
26   Ex. 8.

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      58.    Further, Texas holds its “attorneys to the highest standards of ethical

conduct in dealing with their clients. The duty is highest when the attorney

contracts with his or her client or otherwise takes a position adverse to his or her

client’s interest.” Hoover Slovacek LLP v. Walton, 206 S.W.3d 557, 561 (Tex. 2006)

(quoting Lopez v. Munoz, Hockema & Reed L.L.P., 22 S.W.3d 857, 868 (Tex. 2000)).

      59.    “Lawyers have a duty, at the outset of the representation, to ‘inform

a client of the basis or rate of the fee’ and ‘the contract's implications for the

client.’” Hoover, 206 S.W.3d at 565 (quoting Levine v. Bayne, Snell & Krause, Ltd., 40

S.W.3d 92, 96 (Tex. 2001); RESTATEMENT (THIRD) OF THE LAW GOVERNING LAWYERS

§ 38(1), (18)). The law imposes “the obligation of clarifying attorney-client

contracts upon the attorneys” because of the attorney’s “greater knowledge and

experience with respect to fee arrangements and because of the trust [the] client

has placed in the attorney.” Hoover, 206 S.W.3d at 565 (quoting Levine, 40 S.W.3d

at 95) (quoting Cardenas v. Ramsey County, 322 N.W.2d 191, 194 (Minn. 1982))

(alterations in original).




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II.     Defendants conduct and participate in H&H’s affairs by a pattern of
        racketeering activity—namely, the commission of wire fraud including
        the repeated use of emails, faxes, and phone calls to collect the fraudulent
        $195 “administrative fee” from out-of-state insurers.

        60.   Defendants’ fraudulent “administrative fee” scheme does not stop

with concealing profit in the guise of an “administrative fee.” Rather, once they

dupe their clients into signing the agreement containing the fraudulent fee,

Defendants then “transmit”—by means of “wire communication,” e.g., emails,

faxes, and phone calls—settlement demands to out-of-state insurers to collect it.

        61.   Depending on the form of wire communication utilized by

Defendants, these settlement demands take one of the following forms: “writings,

signs, signals, pictures, or sounds.”

        62.   Additionally, H&H uses a case management software called FileVine,

headquartered in Salt Lake City, Utah. All of Defendants’ settlement demands sent

via email were transmitted to FileVine’s out-of-state servers and data storage

centers.

        63.   Defendants’ fraudulent settlement demands contemplate collection

of the $195 “administrative fee.”

        64.   Some of these fraudulent settlement demands specifically identify

and demand payment of the $195 “administrative fee.”

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           65.   Defendants transmit these fraudulent settlement demands for the

very purpose of executing their “administrative fee” scheme to defraud their

clients and the insurers out of their money and property.

           66.   In addition to Defendants’ transmitting via wire these fraudulent

settlement demands to insurers, in cases where H&H was fired by their clients,

Defendants often will transmit by interstate wire threats of attorneys’ liens

predicated on these fraudulent and illegal fees.

           67.   Settlement negotiations and similar pre-litigation activities—

including demands and threats of attorneys’ liens—affect interstate commerce.

           68.   Further, in some instances, Defendants have clients sign the

representation agreement with the $195 “administrative fee” through AssureSign

software.27 AssureSign is an electronic signature software that can be deployed as

a Software as a Service (SaaS) application or installed on customer premises. H&H

employee Hector Luna directs H&H’s answering service to use the AssureSign

web-based platform for executing contracts with e-signatures.28




27   Ex. 9, Deposition of Hector Luna at 62−65.
28   Id.

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         69.   The use of the AssureSign platform and portal involves the

transmission of client data and e-signatures across the internet and storage in

servers located in data zones around the world, including locations in the United

States.

         70.   The AssureSign process is interstate wire communication that

Defendants use to further their scheme to defraud their clients.

III.     Defendants continue their pattern of racketeering activity,
         misappropriating hundreds of thousands of dollars from clients.

         71.   Defendants continue to include the $195 “administrative fee” in all

H&H representation agreements.

         72.   Defendants    continue   not    to   advise   their   clients   that   the

“administrative fee” is mostly profit for Herrman on expenses.

         73.   Defendants continue to transmit via wire fraudulent communications

with out-of-state insurers in furtherance of their scheme to defraud insurers and

clients, and to ensure collection of their fraudulent and illegal “administrative fee.”

         74.   Defendants continue not to tell their pre-litigation clients that their

actual costs are generally a tiny fraction of the $195 “administrative fee.”

         75.   Plaintiffs and other members of the proposed class have suffered

damages in the form of the unlawful $195 administrative fee. Over a three-year

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period, they have collectively sustained more than $600,000 in damages from these

fraudulent billing practices.29

A.        Arturo Garza

          76.      On July 8, 2019, Arturo Garza signed an H&H representation

agreement at its offices in Corpus Christi, Texas, in connection with a motor-

vehicle accident that occurred on July 6, 2019.30

          77.      H&H associate, Stratso, signed the agreement on behalf of the Firm.31

          78.      The agreement represented that if the case settled without litigation,

Garza would be charged an “administrative fee” of $195 to cover expenses for

“black and white photocopies, postage, long distance phone calls, scanned

documents, facsimiles and other miscellaneous supplies.”32

          79.      Defendants knew, at the time of contracting, that Garza’s expenses

were unlikely to approach even 10% of that amount.




29   Supra ¶ 13.
30   Ex. 1.
31   Id. at 5.
32   Ex. 1 at 1.

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           80.   Nobody within H&H ever informed Garza that the $195

“administrative fee” is mostly profit.

           81.   The representation agreement also provided that his matter could not

be settled without H&H’s approval.33

           82.   Defendants negotiated Garza’s case with State Farm, an out-of-state

insurer headquartered in Illinois. Defendants made a settlement demand for

payment of the $195 administrative fee.

           83.   The case settled on October 16, 2019; H&H collected $6,475 in

attorneys’ fees and Garza was charged the $195 fee despite incurring far less in

actual expenses.34 The final settlement statement was saved and stored on

FileVine, transmitting the data over interstate wire.35

           84.   The final statement did not itemize actual administrative expenses.36




33   Ex. 1 at 2 ¶c.
34 Ex. 11, H&H settlement breakdown for settlement of Garza’s July 6, 2019
accident. Despite Garza’s repeated requests, H&H refused to turn over other
information from his file, including actual administrative expenses.
35   Id.
36   Id.

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           85.   Garza later signed another H&H representation agreement with

Stratso in connection with a different motor vehicle accident—this one having

occurred on September 20, 2019.37

           86.   The representation agreement again provided that Garza would be

charged the $195 “administrative fee” and that he could not settle his claims

without H&H approval.38

           87.   No one at H&H told Garza that the $195 “administrative fee” was

mostly profit.

           88.   The representation agreement, prepared by Herrman, his attorneys,

and staff, informed Garza that, unlike prelitigation clients who pay only $195,

clients who file suit must pay “all expenses.”39 Thus, H&H’s representation

agreement conveyed the $195 “administrative fee” as a benefit to Garza.

           89.   On October 17, 2019, Garza fired H&H and hired the Bandas Law

Firm, P.C. in connection with the September 20, 2019, motor vehicle accident. 40




37   Ex. 2.
38   Id. at 1.
39   Id.
40   Ex. 12, Garza termination letter.

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           90.   Garza fired H&H because it failed to communicate with him.41

           91.   No H&H attorney performed material or beneficial work in his case

over the twenty-seven-day period of representation.

           92.   Though H&H had been on the case for twenty-seven days, it had done

nothing, other than Stratso sending a fax on H&H’s behalf to Progressive

Commercial in Island Heights, Ohio on October 21, 2019.42

           93.   The October 21, 2019 fax advised of H&H’s interest in Garza’s claim.43

           94.   Stratso threatened to file suit if the insurer did not acknowledge the

interest within five days.44

           95.   On May 12, 2020, Stratso followed up with an email to Progressive

employee, Kymber D. Fennell-Lewis, in Oklahoma City, again demanding

payment and specifically explaining “that our expenses are $198 per client[.]” 45




41   Id.
42   Ex. 13, Stratso Oct. 21, 2019 fax.
43   Id.
44   Id.
45   Ex. 14, May 12, 2020 Stratso email.

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          96.    Stratso did so even though he and other Defendants knew that the

administrative expenses were only $18.22.46

          97.    Garza sustained injury in the form of legal expenses in having to fight

Defendants’ efforts to collect the fraudulent $195 administrative fee. Specifically,

Garza incurred at least $1,300 in litigation expenses.

          B.     LaQuinta Jones.

          98.    LaQuinta Jones signed an H&H representation agreement at the

Firm’s offices in Corpus Christi, Texas on November 11, 2019, in connection with

a motor vehicle accident that occurred on November 7, 2019.47

          99.    H&H associate, Byerly, signed the agreement on behalf of the Firm.48

          100. As with Garza, Jones’ H&H representation agreement provided that

if the case settled without litigation, Jones would be charged an “administrative

fee of $195 to cover expenses for the following: black and white photocopies,




46   Ex. 6.
47   Ex. 3.
48   Id. at 5.

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postage, long distance phone calls, scanned documents, facsimiles and other

miscellaneous supplies.”49

          101. Defendants knew at the time of contracting that pre-litigation

administrative costs are generally less than 10% of the $195 “Administrative Fee”

imposed, and that it would be very unlikely that Jones’ costs would approach a

tiny fraction of $195.

          102. Jones was never informed by anyone at H&H that the $195

“administrative fee” is mostly profit.

          103. Defendants did not tell her that her actual costs may be—in fact,

would likely be— less than the $195 “administrative fee.”

          104. Jones’ representation agreement also provided that the case could not

be settled without H&H’s approval.50

          105. Jones fired H&H on December 4, 2019 and hired the Bandas Law Firm

to handle her personal injury claim.51




49   Id. at 1.
50   Ex. 3 at 2 ¶c.
51   Ex. 15, Jones’ termination letter.

                                          29
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           106. As with Garza, no H&H attorney communicated with her after she

was signed up and the Defendants began to execute their “administrative fee”

scheme.

           107. H&H represented Jones for 23 days and did not perform any material

or beneficial work on her behalf.

           108. Nevertheless, H&H employee, Glenn, transmitted via U.S. wire a fax

to a State Farm Insurance claims representative in Phoenix, Arizona on December

9, 2019.52

           109. The December 9, 2019 fax was a writing.

           110. The December 9, 2019 fax advised of H&H’s intent to assert its full

interest in attorney’s fees and “office expenses of $195.00 in Laquinta Jones’

claim.”53

           111. Asserting and providing notice of an interest in attorneys’ fees and

“office expense expenses of $195.00 in Laquinta Jones’ claim” with an out-of-state

insurance claims representative is interstate commerce.




52   Ex. 16, December 19, 2019 Glenn fax.
53   Id.

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         112. Glenn, and other H&H employees knew, at the time it was

transmitted, that the fax was fraudulent and knew that administrative expenses

were only $18.60.54

         113. Glenn transmitted the December 9, 2019 fax in furtherance of

Defendants’ scheme to defraud Jones by overcharging her for administrative costs.

         114. Defendants’ “administrative fee” scheme injured Jones because she

was forced to incur expenses to fight Defendants’ attempted collection of the

fraudulent “administrative fee.” Specifically, she has incurred at least $700 in

litigation expenses. She was further injured in that Defendants’ collection efforts

delayed settlement. Although the undersigned firm had reached a tentative

settlement with the adverse driver, settlement funds could not be released due to

the assertion of Defendants’ fraudulent lien for fees and expenses. Jones had to file

a lawsuit against the adverse driver because the settlement could not be finalized

prior to the running of the statute of limitations for the underlying motor vehicle

collision. To date, Jones still has been unable to receive her settlement.




54   See e.g., Ex. 5 at 5−6 (supplemental answer to interrogatory 9).

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          C.       Doris Morales

          115. Doris Morales signed an H&H representation agreement at the Firm’s

offices in Corpus Christi, Texas on September 20, 2019, in connection with a motor

vehicle accident that occurred on the same date.55

          116. H&H associate, Stratso, signed the agreement on behalf of the Firm.56

          117. As with Garza and Jones, Morales’ H&H representation agreement

provided that if the case settled without litigation, she would be charged an

“administrative fee of $195 to cover expenses for the following: black and white

photocopies, postage, long distance phone calls, scanned documents, facsimiles

and other miscellaneous supplies.”57

          118. Defendants knew at the time of contracting that pre-litigation

administrative costs are generally less than 10% of the $195 “administrative fee”

imposed, and that it would be very unlikely that Morales’ costs would approach a

tiny fraction of $195.




55   Ex. 4.
56   Id. at 4; Ex. 11 at 41.
57   Ex. 4 at 1.

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         119. Morales was never informed by anyone at H&H that the $195

“administrative fee” is mostly profit.

         120. Defendants did not tell her that her actual costs may be—in fact,

would likely be— less than the $195 “administrative fee.”

         121. Morales’ representation agreement also provided that the case could

not be settled without H&H’s approval.58

         122. Morales fired H&H on September 25, 2019 and hired the Bandas Law

Firm to handle her personal injury claim.59

         123. As with Garza and Jones, no H&H attorney communicated with

Morales after she was signed up and the Defendants began to execute their

“administrative fee” scheme.

         124. H&H represented Morales for 5 days and did not perform any

material or beneficial work on her behalf.




58   Ex. 4 at 2 ¶c.
59   Ex. 17.

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           125. Though H&H had been on the case for 5 days, it had done nothing,

other than Stratso sending a fax on H&H’s behalf to Progressive Commercial in

Island Heights, Ohio on October 21, 2019.60

           126. The October 21, 2019 fax advised of H&H’s interest in Morales’

claim.61

           127. Stratso threatened to file suit if the insurer did not acknowledge the

interest within five days.62

           128. On May 12, 2020, Stratso followed up with an email to Progressive

employee, Kymber D. Fennell-Lewis, in Oklahoma City, again demanding

payment and specifically explaining “that our expenses are $198 per client[.]”63

           129. Stratso did so even though he and other Defendants knew that the

administrative expenses were only $7.55.64

           130. The October 21, 2019 fax and the May 12, 2020 email were writings.




60   Ex. 18, Oct. 21, 2019 Stratso fax regarding Morales’ personal injury claim.
61   Id.
62   Id.
63   Ex. 14.
64   See e.g., Ex. 6.

                                            34
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          131. Asserting and providing notice of an interest in attorneys’ fees and

demanding payment of $198 in administrative expenses with an out-of-state

insurance claims representative is interstate commerce.

          132. Stratso and other H&H employees knew at the time it was

transmitted, that the fax was fraudulent and knew that administrative expenses

were only $7.55.65

          133. Stratso transmitted the October 21, 2019 fax and the May 12, 2020

email in furtherance of Defendants’ scheme to defraud Morales by overcharging

her for administrative costs.

          134. Defendants’ “administrative fee” scheme injured Morales because

she was forced to incur expenses to fight Defendants’ attempted collection of the

fraudulent “administrative fee.” Specifically, Morales incurred at least $1,300 in

litigation expenses.

IV. H&H and Defendants retain complete control over settling their clients’
     cases through an unlawful provision in the representation agreement.

          135. Managing partner, Herrman, and his associates have also engaged in

the unlawful practice of retaining complete control over their clients’ decision-




65   See e.g., Ex. 6.

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making through an illegal provision in the representation agreement that prohibit

clients from settling their claims without H&H’s approval.

         136. Specifically, since at least July 8, 2019, H&H’s representation

agreement has prevented clients from:

                        “obtain[ing] any settlement of the aforesaid claims
                        without the complete approval of the Attorney.”66

         137. That provision clearly violates Rule 1.02(a)(2) of the Texas

Disciplinary Rules of Professional Conduct and renders the contract void as

against public policy. See Tex. Disciplinary R. Prof’l Cond. 1.02(a)(2) & cmt 5; Davis

Law Firm, 2014 WL 585855, at *4 (“because the contingent fee agreement prohibited

settlement without [attorney’s] consent, it was unenforceable as against public

policy”); Plaza, 363 B.R. at 521–22 (“Clauses in a contract between attorney and

client which prohibit a settlement by the client without his attorney's consent are

generally held to be unenforceable as against public policy”); Sanes, 25 S.W.3d at

805.




66   Ex. 1 at 2 ¶c; Ex. 2 at 2 ¶c; Ex. 3 at 2 ¶c; Ex. 4 at 2 ¶c.

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       138. Since July 8, 2019, Defendants have entered into at least 4,290

representation agreements (and possibly as many as 6,435 or more)67 with this

unlawful provision.68

       139. This attorney-first provision renders those agreements void as a

matter of law.

V.     Garza, Jones, and Morales sue in state court, but nonsuit and file in this
       Court when discovery reveals RICO violations.

       140. Garza, Morales, and Jones initially filed suit, individually, in state

court against Herrman and his Firm after they attempted to collect a full fee

despite performing essentially no work. See Morales & Garza v. Greg Herrman,

Attorney at Law and Herrman & Herrman, PLLC, No. 2020DCV-1662-H (Aug. 20

Original Petition, 347th Nueces County Dist. Ct.); Jones v. Greg Herrman Attorney at

Law and Herrman & Herrman, 2021DCV-2168-C (94th District Court, Nueces

County).




67Based on Luna’s testimony that Herrman & Herrman signs up 30 to 45 clients
per week (Ex. 9 at 32), that is 1,560 to 2,340 clients per year. 2.75 years (July
2019−April 2020) x 1,560 = 4,290. 2.75 years x 2,340 = 6,435.
68 If H&H collected an average of $1,000 in attorneys’ fees among the 6,435 signed
clients (with the recognition that there will be much greater recovery in some
instances and no recovery in others), that is $6,435,000 in attorneys’ fees collected
under the void representation agreements.

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         141. On January 10, 2021, Herrman supplemented discovery in Jones’ case

to reveal that actual administrative expenses in her case were $18.60, 69 having

previously disclosed actual administrative expenses of $18.22 and $7.55 for Garza

and Morales.70

         142. At this point it became clear that this was not just an isolated case of

expenses exceeding a flat rate fee. Rather, there was a demonstrated pattern of

fraud in the $195 “administrative fee” through interstate wires implicating

RICO—i.e., the “administrative fee” scheme.

         143. As such, Garza, Morales, and Jones nonsuited their cases in state court

without prejudice and filed the instant class action complaint alleging RICO

violations.

         144. Of note, before the nonsuit, the 347th district court granted a partial

summary judgment in favor of Morales and Garza, finding that the provision




69   Ex. 5 at 5−6 (supplemental answer to interrogatory 9).
70   Ex. 6.

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prohibiting settlement without H&H’s consent violated the rules of ethics and

rendered the representation agreements voidable.71

                         CLASS ACTION ALLEGATIONS

       145. Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.

       146. Class Definition: Plaintiffs bring this action pursuant to Federal Rule

of Civil Procedure 23(b)(2) and 23(b)(3) on behalf of themselves and a class of

similarly situated persons, defined as follows:

           Any person who is a former client of Herrman & Herrman, PLLC
           who signed a representation agreement with Herrman &
           Herrman, PLLC on or after March 19, 2019, and settled a personal
           injury claim without filing a lawsuit and was charged a $195 or
           greater “administrative fee;” or any person who is a former client
           of Herrman & Herrman, PLLC who signed a representation
           agreement with Herrman & Herrman, PLLC on or after March 19,
           2019, and subsequently faced efforts by Herrman & Herrman,
           PLLC to collect the $195 or greater “administrative fee” despite
           terminating Herrman & Herrman, PLLC’s services; or any person
           who is a former client of Herrman & Herrman, PLLC who signed
           a representation agreement with the law firm Herrman &
           Herrman, PLLC on or after July 8, 2019, which included a
           provision prohibiting the client from settling a personal injury


71Ex. 19, First Amended Order Granting Plaintiffs’ Traditional Motion for Partial
Summary Judgment, Morales & Garza v. Greg Herrman, Attorney at Law and
Herrman & Herrman, PLLC, No. 2020DCV-1662-H, (347th District Court, Nueces
County, Tex. June 16, 2021).

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             claim without the complete approval of Herrman & Herrman,
             PLLC, and who settled a personal injury claim from which
             Herrman & Herrman, PLLC took attorney’s fees.

        147. Numerosity: The exact number of members of the Class is unknown

and is currently not available to Plaintiffs, but individual joinder in this case is

impracticable. The Class likely consists of at least one thousand members and

perhaps several thousand members. Members of the Class can be easily identified

through Defendants’ records.

        148. Commonality and Predominance: There are many questions of law

and fact common to the claims of Plaintiffs and the other members of the Class,

and those questions predominate over any questions that may affect individual

members of the Class. Common questions for the Class include but are not limited

to:

        a.     Whether Count I RICO Defendants violated RICO §1962 (c);

        b.     Whether Count II RICO Defendants (H&H and Herrman) violated

RICO § 1962(a);

        c.     Whether Count III RICO Defendants violated RICO §1962(d);

        d.     Whether Defendants engaged in a pattern of racketeering activity

connected to the establishment, conduct, or control of the enterprise;


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      e.     Whether Count I RICO Defendants committed multiple predicate acts

of Wire Fraud;

      f.     Whether Count I RICO Defendants’ use of the $195 “administrative

fee” provision; their efforts to collect the fee from clients and out-of-state insurers;

and their deduction of the $195 fee from client settlements was a scheme to defraud

or to obtain money or property by means of false pretenses;

      g.     Whether Count III RICO Defendants made an agreement to commit

the RICO offenses contained in Counts I and II of this Complaint.

      h.     Whether the wrongful deduction of the $195 “administrative fee”

from their settlements is an injury to H&H former clients’ business or property;

      i.     Whether Defendants Greg Herrman, Steven Stratso, Kyzmyck Byerly,

and H&H breached their fiduciary duties to their former clients by, among other

violations, charging them a profit margin on actual costs, and stripping them of

their right to settle their claims without H&H approval;

      j.     Whether the remedy for Defendants’ conduct is disgorgement of all

legal fees collected by H&H;

      k.     Whether a declaratory judgment should be entered declaring H&H’s

representation agreement void as against public policy;


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       l.    Whether all Defendants committed common law fraud;

       m.    Whether H&H’s $195 “administrative fee” provision is a false

material misrepresentation;

       n.    Whether compensatory damages for the collection of the $195

“administrative fee” includes an amount representing the difference between the

$195 fee and a client’s actual administrative expenses;

       o.    Whether all Defendants committed common law civil conspiracy; and

       p.    Whether Defendants were unjustly enriched to the extent actual

administrative expenses were less than the $195 “administrative fee,” and were

enriched by collection of a contingency fee premised upon a void contract.

       149. Adequate Representation: Plaintiffs have and will continue to fairly

and adequately represent and protect the interests of the Class. Proposed Class

Counsel is competent and have experience in complex litigation and class actions.

They are also experienced and have had successes in fighting abusive attorneys’

fees and expenses.72 Plaintiffs’ claims are typical of the claims of the other members




72See e.g., In re Optical Disk Drive Prods. Antitrust Litig., No. 10-md-02143-RS, 2021
WL 4124159, 2021 U.S. Dist. LEXIS 171405, at *23 (N.D. Cal. 2021) (finding that the
Bandas Law Firm’s attorneys benefitted a settlement class by $21.8 million,

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of the Class. Plaintiff and members of the Class sustained damages as a result of

Defendants’ uniform wrongful conduct. Plaintiffs have no interests antagonistic to

those of the Class, and Defendants have no defenses unique to Plaintiffs. Plaintiffs

are committed to vigorously prosecuting this action on behalf of the members of

the Class, and Proposed Class Counsel have the resources to do so. Plaintiffs do

not have any interest adverse to those of the other members of the Class.

      150. Superiority: This case is also appropriate for class certification

because class proceedings are superior to all other available methods for the fair

and efficient adjudication of this controversy. Joinder of all parties is

impracticable, and the damages suffered by the individual members of the Class

will likely be relatively small, especially given the burden and expense of

individual prosecution of the complex litigation necessitated by Defendants’

actions. Thus, it would be virtually impossible for the individual members of the

Class to obtain effective relief from Defendants’ misconduct. Even if members of

the Class could sustain such individual litigation, it would still not be preferable

to a class action, because individual litigation would increase the delay and




reflecting the amount of improperly charged attorneys’ fees by a nationwide
Plaintiff’s law firm, Hagens Berman).

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expense to all parties due to the complex legal and factual controversies presented

in this Complaint. By contrast, a class action presents far fewer management

difficulties and provides the benefits of single adjudication, economy of scale, and

comprehensive supervision by a single Court. Economies of time, effort and

expense will be fostered, and uniformity of decisions ensured.

       151. Plaintiffs reserve the right to revise the foregoing “Class Allegations”

and “Class Definition” based on facts learned through additional investigation

and in discovery. This is particularly important since H&H has refused to provide

Plaintiffs’ information from their files.73




73 For example, H&H refused to provide information from Morales’ and Jones’
files, including actual administrative expenses, and required undersigned counsel
to file multiple motions to compel in the state court litigation. H&H also refused
to provide information to undersigned counsel for Garza relating to his expenses.

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                                CLAIMS FOR RELIEF

                                     COUNT I
                               RICO 18 U.S.C. § 1962(c)

As Against Defendants Greg Herrman, Steven Stratso, Kyzmyck Byerly, Rodney Glenn,
                and Hector Luna on Behalf of Plaintiffs and the Class

      152. Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.

      153. Plaintiffs, individually and on behalf of the proposed class, assert a

civil RICO claim against Herrman, Stratso, Byerly, Glenn, and Luna under 18

U.S.C. § 1962(c). That “subsection states that a person who is employed by or

associated with an enterprise cannot conduct the affairs of enterprise through a

pattern of racketeering activity….” Vanderbilt Mortg. & Fin., Inc. v. Flores, 746 F.

Supp. 2d 819, 840 (S.D. Tex. Oct. 20, 2010). This subsection “was intended to

prevent the operation of a legitimate business or union through racketeering.” Id.

(citing David B. Smith & Terrance G. Reed, Civil RICO, ¶ 5.01, p. 5-2 (1997)).

      154. To prove a violation of this subsection, the plaintiff must show: “(1) a

person who engages in (2) a pattern of racketeering activity (3) connected to the

acquisition, establishment, conduct, or control of the enterprise.” Id. (quoting

Crowe v. Henry, 43 F.3d 198, 203 (5th Cir. 1995); In re Mastercard Int’l. Inc., 313 F.3d



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257, 261 (5th Cir. 2002)). “A pattern of racketeering activity is created by two or

more predicate acts that are related and constitute or pose a threat of continued

criminal activity.” DHI Grp., Inc. v. Kent, 397 F. Supp. 3d 904, 926 (S.D. Tex. Jul. 12,

2019) (citing 18 U.S.C. § 1961(5); Brown v. Protective Life Ins. Co., 353 F.3d 405, 407

(5th Cir. 2003)).

       155. Here, the RICO Enterprise is H&H. See 18 U.S.C. § 1961(4) (defining

enterprise to “include[] any individual, partnership, corporation, association, or

other legal entity, and any union or group of individuals associated in fact

although not a legal entity”).74

       156. For purposes of § 1962(c), Defendants Herrman, Stratso, Byerly,

Glenn, and Luna are the RICO “persons” as defined by the statute. That is,

Herrman, Stratso, Byerly, Glenn, and Luna are persons capable of holding legal or

beneficial interests in property. 18 U.S.C. § 1961(3).




74 For purposes of Plaintiffs’ § 1962(c) claim, H&H is not a RICO person and
Plaintiffs and the class have not named H&H as a defendant with respect to their
§ 1962(c) claims. By contrast, H&H is a RICO Person and defendant for purposes
of Plaintiffs’ § 1962(a) and (d) claims as described infra.

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      157. There may be additional members of the RICO Enterprise who are

not, as of now, named as defendants in this action. Plaintiffs reserve the right to

amend their complaint upon discovery of the names of these members.

      158. Each of the Count I RICO Defendants named in this section under §

1962(c), i.e., Herrman, Stratso, Byerly, Glenn, and Luna, is distinct from the RICO

enterprise itself, H&H. See Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158, 163

(2001) (“The corporate owner/employee, a natural person, is distinct from the

corporation itself, a legally different entity with different rights and

responsibilities due to its different legal status”); Abraham v. Singh, 480 F.3d 351,

357 (5th Cir. 2007) (“This allegation is sufficient to demonstrate that the RICO

person, an individual employee of the corporation, is distinct from the RICO

enterprise, the corporation itself); see also Mugg v. Hutmacher, 18-CV-732-RP, 2019

U.S. Dist. LEXIS 130669, at *13−14 (W.D. Tex. Jul. 10, 2019) (argument that

defendant corporation committed predicate acts through its agents, and thus the

RICO persons were not distinct from the enterprise was misplaced not where

plaintiff did not allege “association in fact” but rather that the corporation itself

was the RICO enterprise). Further, H&H is an entity, a personal-injury law firm,

separate and apart from the pattern of racketeering—i.e., the fraudulent


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“administrative fee” scheme accomplished by Wire Fraud (18 U.S.C. § 1343)—in

which Herrman and his associates have and continue to engage.

      159. The Count I RICO Defendants are persons employed by or associated

with H&H, the RICO Enterprise as alleged herein. Herrman is the managing

partner of H&H; Stratso and Byerly are attorneys under Herrman’s direction;

Glenn and Luna are staff at the law firm under Herrman’s direction. Herrman,

Stratso, Byerly, Glenn, and Luna participated (and continue to participate) directly

in the conduct of H&H’s affairs through a pattern of racketeering activity, which

in turn injured Plaintiffs in their business or property.

      160. The Count I RICO Defendants willfully and intentionally violated

state and federal laws with the goal of obtaining money, directly and indirectly,

through a pattern of racketeering activities composed of numerous indictable

offenses, specifically multiple acts of Wire Fraud (18 U.S.C. § 1343).

      161. Plaintiffs and the proposed class members have standing because

they sustained injury to their “business or property” by reason of Defendants’

violations of §1962. See 18 U.S.C. § 1964 (allowing recovery by “[a]ny person

injured in his business or property by reason of a violation of section 1962”).

Specifically, Plaintiffs and the Class have been assessed a fraudulent and unlawful


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$195 “administrative fee” taken from monies paid on their personal injury claims

by reason of Defendants’ violations of §1962. Collectively, the Class may have

suffered more than $600,000 in damages from this cash grab. Additionally,

Plaintiffs and some members of the Class had to incur expenses to fight H&H’s

collection efforts by reason of Defendants’ violations of §1962. They would not

have suffered these injuries but for Defendants’ misconduct, and their injuries are

proximately caused by and a direct result of the Defendants’ wrongful acts—i.e.,

the repeated commission of wire fraud through the assessment and collection of

the fraudulent “administrative fee.” See Warnock v. State Farm Mut. Auto. Ins. Co.,

No. 5:08cv01-DCB-JMR, 2008 U.S. Dist. LEXIS 81507, at *17−18 (S.D. Miss. 2008)

(finding plaintiff that alleged monetary injuries that would not exist but for the

defendant’s conduct “pled adequately that she suffered injury to her business or

property by reason of the defendants' acts, … has standing to bring a civil RICO

claim”); Bias v. Wells Fargo & Co., 942 F. Supp. 2d 915, 936 (N.D. Cal. 2013) (“A

consumer who has been overcharged can claim injury to property under RICO

based on a wrongful deprivation of money, which is a form of property”); Dufour

v. BE LLC, No. C 09–03770 CRB, 2010 WL 2560409, at *11 (N.D. Cal. June 22, 2010)




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(“Plaintiffs here allege that they were deprived of their money based upon

Defendants' conduct, which is sufficient.”).75

          The RICO Enterprise—Herrman & Herrman, PLLC (“H&H”)

       162. The RICO Enterprise is H&H, which is a professional limited liability

corporation that served as the vehicle for racketeering activities by Count I RICO

Defendants Herrman, Stratso, Byerly, Glenn, Luna, and unnamed/unknown

associates and employees of H&H. See 18 U.S.C. § 1961(3),(4) (“enterprise includes

any … corporation, association, or other legal entity” and “person includes any

individual or entity capable of holding a legal or beneficial interest in property”).

       163. Each of the Count I RICO Defendants conducted and/or participated

in the business and financial affairs of the RICO Enterprise through a pattern of



75 “For RICO claims based on mail or wire fraud, plaintiffs do not have to plead
reliance, first-hand or otherwise, to prove proximate cause.” Harris County v. Eli
Lilly & Co., No. H-19-4994, 2020 U.S. Dist. LEXIS 179199, at *30 (S.D. Tex. 2020)
(citing Bridge v. Phx. Bond & Indem. Co., 553 U.S. 639, 647, 128 S. Ct. 2131, 170 L. Ed.
2d 1012 (2008)). “Using the mail to execute or attempt to execute a scheme to
defraud is indictable as mail fraud, and hence a predicate act of racketeering under
RICO, even if no one relied on any misrepresentation.” Bridge, 553 U.S. at 647; St.
Germain v. Howard, 556 F.3d 261, 263 (5th Cir. 2009) ("The Supreme Court recently
held that no reliance requirement exists for civil causes of action under RICO for
victims of mail fraud.") (citing Bridge, 553 U.S. at 639); see also Allstate Ins. Co. v.
Plambeck, 802 F.3d 665, 676 (5th Cir. 2015) ("In cases predicated on mail or wire
fraud, reliance is not necessary.").

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racketeering activity (i.e., repeated and systematic wire fraud in violation of 18

U.S.C. § 1343), as described herein, that generated charges and payment of

fraudulent and unlawful “administrative fees.” For the past three years, this

pattern of racketeering activity has impacted thousands of clients while generating

exorbitant financial gain for Greg Herrman, and on information and belief, his

associates and employees.

       164. Greg Herrman has final say over the actions of the RICO Enterprise,

including the decision to charge clients the fraudulent “administrative fee,” how

much it will be, how to represent the charge to the clients, and the methods for

collecting the “administrative fee.”76

       165. Herrman shares the RICO Enterprise’s ill-gotten profits with the

Firm, attorneys, and employees.

        166. While Herrman manages the RICO Enterprise, Stratso, Byerly and

other attorneys help secure clients for the RICO Enterprise and sign the

representation agreements that include the fraudulent “administrative fee.”




76See Ex. 10 at 5, Second Supplemental Response to Interrogatory 4 (“The $195
administrative flat fee was decided by Greg Herrman, manager of Herrman &
Herrman, PLLC”).

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Further, when clients terminate H&H’s representation, at Herrman’s direction,

Stratso, Byerly, and Glenn also threaten liens and legal action and refuse to turn

over client files to ensure recovery of the fraudulent “administrative fee.”

      167. As managing partner, Herrman has acted as the boss of the RICO

Enterprise, providing leadership and overall command, and made the decisions to

charge and set the amount for the fraudulent “administrative fee” to the clients.

      168. As a part of the RICO Enterprise, Count I RICO Defendants acted in

concert to enrich themselves and further the common interests of the group as a

whole. Their wrongful conduct remains part of the RICO Enterprise’s ongoing

way of doing business and constitutes a continuing threat to the Plaintiffs and the

Class’s property.

      169. Without the repeated violative acts and intentional coordination

between Count I RICO Defendants and other unnamed H&H attorneys and

employees, the RICO Enterprise’s scheme would not have succeeded and would

not pose a threat to Plaintiffs and the Class into the future.




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                            RICO Person Greg Herrman

         170. Throughout the operation of the RICO Enterprise, Herrman, as

managing partner for H&H, has directed the RICO Enterprise and has taken

primary responsibility for its activities.

         171. Herrman provides the system of authority and directs the

Enterprise’s affairs on a continuing basis, by, for example, setting the amount of

the fraudulent “administrative fee” to be charged the client and allocating payouts

from the illicit profit.

         172. H&H has admitted that “[t]he $195 administrative flat fee was

decided by Greg Herrman, manager of Herrman & Herrman, PLLC.”77

         173. Herrman set the $195 “administrative fees” even though he knew that

administrative expenses in prelitigation cases are almost always a small fraction

of that amount.

         174. Herrman organizes and conducts the affairs of the RICO Enterprise

by, among other things, (1) deciding to impose the “administrative fee” and setting

its value, (2) requiring that the $195 “administrative fee” for prelitigation clients




77   Ex. 10 at 5, Second Supplemental Response to Interrogatory 4.

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be included in all representation agreements, (3) ensuring that the representation

agreements represent the $195 “administrative fee” as a reasonable charge for

administrative expenses, going so far as to indicate the flat fee will save the

prelitigation clients money despite the knowledge that administrative expenses

for prelitigation clients are almost always a small fraction of that sum, (4) never

informing the clients that the $195 “administrative fee” is mostly profit, and

representing to the contrary that it is a cost-saving measure benefitting clients, and

(5) arranging for his associates and employees to take efforts, including through

the use of interstate wires, to ensure that they collected the fraudulent $195

“administrative fee.”

      175. Herrman is not immune from liability for his racketeering activity

directed at his clients simply because he is an attorney. To the contrary, that makes

his conduct all the more egregious. His conduct and participation in the fraudulent

scheme was not a petition for relief from a court, but rather a deliberate effort to

defraud clients and collect profit from the “administrative fee,” through wire

fraud, when he knew the fee had no relation to actual administrative expenses. Cf.

In re Morrison, Nos. 05-45926, 08-03260, 2009 Bankr. LEXIS 1795, at *9 (Bankr. S.D.

Tex. 2009) (“Noerr-Pennington immunizes petitions to a public adjudicative body;


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it [does not protect] fraudulent conduct that ultimately leads to the filing of a

petition”); Warnock v. State Farm Mut. Auto. Ins. Co., No. 5:08cv01, 2008 WL

4594129, at *7 (S.D. Miss. Oct. 14, 2008) (denying Rule 12(b)(6) motion to dismiss

RICO claims against attorneys because, inter alia, the plaintiff alleged more than

the mere filing of false litigation documents, and adequately pled a pattern of

racketeering activity).78

                            RICO Person Steven Stratso

       176. Stratso agreed to conduct the affairs of the RICO Enterprise by, for

example, agreeing to (1) sign the representation agreement charging clients the

$195 fraudulent “administrative fee” while knowing that the represented covered




78Further, since this suit is brought under federal question jurisdiction, the Texas
“litigation privilege” is inapplicable. See Ray v. Recovery Healthcare Corp., No. 3:19-
CV-3055-G, 2021 U.S. Dist. LEXIS 53919, at *14-16 (N.D. Tex. 2021). Even if it were
applicable, the privilege protects attorneys from civil actions based on
“[c]ommunications made by any party during a judicial proceeding.” Shanks v.
AlliedSignal, Inc., 169 F.3d 988,992 (5th Cir. 1999). Defendants’ racketeering
activities and fraudulent billing practices were not communications made during
a judicial proceeding. Further, “[t]he litigation privilege is inapplicable if an
attorney knowingly participates in the fraudulent activities outside the scope of
his legal representation.” All. Dev., Inc. v. St. Paul Mercury Ins. Co., No. 4:11-CV-
03234, 2012 U.S. Dist. LEXIS 3801, at *8-9 (S.D. Tex. 2012). There is simply no
privilege that can or should extend to attorneys who have engaged in a pattern of
racketeering conduct by fraudulently billing their clients.

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expenses are almost always a small fraction of that amount, (2) sign the

representation agreement portraying the $195 “administrative fee” as a cost-

saving measure that benefits pre-litigation clients, (3) not explain to the clients that

the $195 “administrative fee” is mostly profit, and (4) take efforts, including use of

interstate wires, to ensure Defendants collected the “administrative fee.”

           177. For example, Stratso signed an H&H representation agreement with

Plaintiff Garza on July 8, 2019 that included the fraudulent “administrative fee.”79

           178. The agreement represented that if the case settled without litigation,

Garza would be charged an “administrative fee of $195 to cover expenses for the

following: black and white photocopies, postage, long distance phone calls,

scanned documents, facsimiles and other miscellaneous supplies.”80

           179. Count I RICO Defendants, at the time of contracting, knew that

expenses would only be a small fraction of this amount.

           180. Instead of advising him that the $195 “administrative fee” was mostly

profit, the agreement represented it as a cost-saving measure for the client.81




79   Ex. 1.
80   Id. at 1.
81   Id.

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         181. Stratso had Garza sign the representation agreement without ever

informing him that the $195 “administrative fee” was mostly profit for the

attorneys.

         182. The list of covered costs was similarly deceptive and fraudulent.

H&H did not incur any expenses of costs for long distance phone calls. Insofar as

H&H did not have or ever would have actual long distance call expenses, it was

misleading to inform Garza that the $195 “administrative fee” would cover those

expenses.

         183. The contract also provided that the case could not be settled without

H&H’s approval.82

         184. The case settled on October 16, 2019 and Garza was charged the $195

fee even though the administrative expenses were likely a tiny fraction of this

amount.83

         185. Stratso sent emails and letters to an out-of-state insurer to collect

payment on Garza’s claim, which included the $195 “administrative fee.”




82   Ex. 1 at 2 ¶c.
83   Ex. 11. Herrman and H&H refused to turn over actual expenses incurred.

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           186. Stratso later signed another H&H representation agreement with

Garza in connection with a September 20, 2019 motor vehicle accident. 84

           187. The agreement again represented that Garza would be charged the

$195 “administrative fee,” and portrayed it as a cost-saving measure.85

           188. The agreement also advised that Garza could not settle his claims

without the approval of H&H.86

           189. Stratso never informed Garza that the $195 “administrative fee” was,

in fact, mostly profit for the attorneys.

           190. On October 21, 2019, Stratso on behalf of H&H sent a fax to Garza’s

insurer Progressive Commercial in Island Heights, Ohio advising of H&H’s

claimed interest in Garza’s claim.87

           191. Stratso threatened to file suit if the insurer did not acknowledge

H&H’s interest within five days.88




84   Ex. 2.
85   Id. at 1.
86   Id. at 2 ¶c.
87   Ex. 13.
88   Id.

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          192. On May 12, 2020, Stratso followed up with an email to Progressive

employee Kymber D Fennell-Lewis in Oklahoma City, again demanding payment

and specifically explaining “that our expenses are $198 per client[.]” 89

          193. Stratso did so even though he and other H&H employees knew that

administrative expenses were only $18.22.90

          194. Stratso’s conduct and participation in the RICO Enterprise were not

the provision of professional legal services. Instead, they embody an intentional

effort to defraud and take money from clients through the “administrative fee,”

which he accomplished in part by use of interstate wires. Cf. Morrison, 2009 Bankr.

LEXIS 1795, at *9; Warnock, 2008 WL 4594129, at *7.

                            RICO Person Kyzmyck Byerly

          195. Byerly agreed to conduct the affairs of the RICO Enterprise by, for

example, agreeing to (1) sign the representation agreement charging clients the

$195 fraudulent “administrative fee” while knowing that the represented covered

expenses are almost always a small fraction of that amount, (2) sign the




89   Ex. 14.
90   See e.g., Ex. 6.

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representation agreement portraying the $195 “administrative fee” as a cost-

saving measure that benefits pre-litigation clients, (3) not explain to the clients that

the $195 “administrative fee” is mostly profit, and (4) and take efforts, including

use of interstate wires, to ensure Herrman and his associates collected the

“administrative fee.”

          196. On November 11, 2019, Byerly signed an H&H representation

agreement in connection with representation of client LaQuinta Jones for a

pedestrian/motor vehicle accident that occurred on November 7, 2019.91

          197. The agreement included the “administrative fee of $195 to cover

expenses for the following: black and white photocopies, postage, long distance

phone calls, scanned documents, facsimiles and other miscellaneous supplies.”92

          198. Count I RICO Defendants knew that these expenses almost always

amount to a small fraction of the $195 fee.

          199. The agreement represented the $195 “administrative fee” as a cost-

saving measure for the client, rather than profit for the attorneys.93




91   Ex. 3.
92   Id. at 1.
93   Id. at 1.

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          200. Byerly never informed Jones that the $195 “administrative fee” was

mostly profit for the attorneys.

          201. The contract also provided that the case could not be settled without

H&H’s approval.94

          202. Glenn, on information and belief, under the direction of Byerly, sent

a fax to a State Farm Insurance claims representative in Phoenix, Arizona on

December 9, 2019 advising of Herrman’s intent to assert its full interest in

attorney’s fees and “office expenses of $195.00 in Laquinta Jones’ claim.” 95

          203. Byerly and Glenn did so even though they and other H&H employees

knew that the administrative expenses were only $18.60.96

          204. Moreover, Defendant Byerly’s conduct and participation in the RICO

Enterprise was not the provision of professional legal services. Her conduct and

participation in the fraudulent scheme was not a petition for relief from a court,

but rather a deliberate effort to defraud clients and collect profit from the

“administrative fee,” through wire fraud, with Count I RICO Defendants knowing




94   Id. at 2 ¶c.
95   Ex. 16.
96   See e.g., Ex. 5 at 5−6 (supplemental answer to interrogatory 9).

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that the fee had no relation to actual administrative expenses. Cf. Morrison, 2009

Bankr. LEXIS 1795, at *9; Warnock, 2008 WL 4594129, at *7.

                              RICO Person Rodney Glenn

         205. Glenn agreed to conduct the affairs of the RICO Enterprise by, for

example, having H&H clients sign representation agreements that portray the

$195 “administrative fee” as a cost-saving measure for the client without

informing them that it is mostly profit for Herrman and his associates and agreeing

to take efforts to collect the fraudulent “administrative expense” fee.

         206. Again, Glenn sent a fax to a State Farm Insurance claims

representative in Phoenix, Arizona on December 9, 2019 advising of Herrman’s

intent to assert its full interest in attorney’s fees and “office expenses of $195.00 in

Laquinta Jones’ claim.”97

         207. Byerly and Glenn did so even though they and other H&H employees

knew that the administrative expenses were only $18.60.98

         208. Moreover, Defendant Glenn’s conduct and participation in the RICO

Enterprise was not related to the provision of professional legal services as a



97   Ex. 16, December 19, 2019 Glenn fax.
98   See e.g., Ex. 5 at 5−6 (supplemental answer to interrogatory 9).

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paralegal or legal assistant. His conduct and participation in the fraudulent

scheme was not a petition for relief from a court, but rather a deliberate effort to

defraud H&H clients through misrepresentation, and through imposition and

collection of an “administrative fee” by wire fraud that Count I RICO Defendants

knew had no relation to actual administrative expenses. Cf. Morrison, 2009 Bankr.

LEXIS 1795, at *9; Warnock, 2008 WL 4594129, at *7.

                            RICO Person Hector Luna

      209. Luna agreed to conduct the affairs of the RICO Enterprise by, for

example, having H&H clients sign representation agreements that portray the

$195 “administrative fee” as a cost-saving measure for the client without

informing them that it is mostly profit for Herrman and his associates and agreeing

to take efforts to collect the fraudulent “administrative expense” fee.

      210. Moreover, Defendant Luna’s conduct and participation in the RICO

Enterprise was not related to the provision of professional legal services as a

paralegal or legal assistant. His conduct and participation in the fraudulent

scheme was not a petition for relief from a court, but rather a deliberate effort to

defraud H&H clients through misrepresentation, and through imposition and

collection of an “administrative fee” by wire fraud that Count I RICO Defendants


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knew had no relation to actual administrative expenses. Cf. Morrison, 2009 Bankr.

LEXIS 1795, at *9; Warnock, 2008 WL 4594129, at *7.

    Presently Unknown and/or Unnamed Members of the RICO Enterprise

      211. Does 1 through 100 are unknown to Plaintiffs at this time but may be

necessary parties without whom the court cannot accord complete relief among

existing parties. Plaintiffs reserve the right to amend their complaint upon

discovery of the names of these members.

                  Predicate Acts of Wire Fraud, 18 U.S.C. § 1343

      212. To state RICO predicate wire fraud violations under 18 U.S.C. § 1343,

a plaintiff must establish: (1) a scheme or artifice to defraud or to obtain money or

property by means of false pretenses, representations, or promises; (2) a use of the

interstate wires for the purpose of executing the scheme; and (3) a specific intent

to defraud either by revising, participating in, or abetting the scheme. See Flores,

746 F. Supp. 2d at 841.

      213. As described, Count I RICO Defendants and unnamed/unknown

associates and employees of H&H engaged in a scheme to defraud and to obtain

money by means of false or fraudulent representation—specifically that the $195




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“administrative fee” was reasonable to cover administrative expenses and would

benefit the client by saving them money.

      214. They never informed the clients that the administrative fee was in fact

profit for themselves and/or H&H.

      215. They also did not disclose that they incur no expense for some of the

items covered by the “administrative fee.”

      216. At all times, it was reasonably foreseeable that interstate wires would

be used to further these acts of artifice or deceit. Count I RICO Defendants and

unnamed/unknown associates and employees of H&H knew that they would use

interstate emails, faxes, and phone calls to communicate with out-of-state insurers

to further their scheme and collect the unlawful and fraudulent “administrative

fee.” Further, H&H knew that any documents or emails generated in the case,

including settlement demands and final settlement statements, would be

transmitted to FileVine’s out-of-state servers and data storage centers. And even a

“’wire communication whose origin and ultimate destination are within a single

state’ can violate the wire fraud statue if it is ‘routed through another state.’”

United States v. Halloran, 821 F.3d 321, 342 (7th Cir. 2016) (quoting Ideal Steel Supply




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Corp. v. Anza, 373 F.3d 251, 265 (2d Cir. 2004), rev’d in part on other grounds, 547 U.S.

451 (2006)); see also United States v. Davila, 592 F.2d 1261, 1264 (5th Cir. 1979).

            217. Defendants also have clients sign the representation agreement with

the $195 “administrative fee” using the AssureSign software, which transmits

client data and e-signatures across the internet and storage in servers located in

data zones around the world, including locations in the United States.

            218. The AssureSign process is interstate wire communication that

Defendants use to further their scheme to defraud their clients.

            219. The Count I RICO Defendants’ specific acts of Wire Fraud involving

the named Plaintiffs include the following: On October 21, 2019, Stratso faxed a

letter to Progressive Commercial in Island Heights, Ohio advising of H&H’s

interest, which includes the fraudulent $195 “administrative fee,” in Garza’s claim

from his September 20, 2019 motor-vehicle accident.99

            220. Stratso’s letter threatened suit if the insurer did not acknowledge

H&H’s interest within five days.100




99   Ex. 13.
100   Id.

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          221. Stratso followed up on May 12, 2020 with an interstate email to

Progressive employee Kymber D Fennell-Lewis in Oklahoma City, asking her to

“forward to the handling adjuster that our expenses are $198 per client[.]”101

          222. Stratso made this representation so even though he and other H&H

employees knew that the actual administrative expenses were just $18.22.102

          223. Later on May 12, 2020, Stratso sent an email to the handling adjuster

Staci Snell in San Antonio, Texas, again discussing “our interest in this case.” 103

          224. With respect to Garza’s prior accident that took place on July 6, 2019,

an associate or employee of H&H communicated with an out-of-state insurer to

collect payment, including the fraudulent $195 administrative fee.

          225. The out-of-state insurer paid the claim to H&H, including the $195

fraudulent “administrative fee.”

          226. The Count I RICO Defendants took a similarly aggressive approach

in attempting to collect money from Jones, including the fraudulent

“administrative fee,” from her November 7, 2019 automobile accident.




101   Ex. 14.
102   See e.g., Ex. 6.
103   Ex. 14.

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         227. On December 9, 2019, H&H employee, Glenn, faxed State Farm

Insurance claims representative in Phoenix, Arizona advising of H&H’s full

interest in attorney’s fees and “office expenses of $195.00 in Laquinta Jones’ claim.”

104



         228. Glenn did so even though he and other H&H employees knew that

the administrative expenses were only $18.60.105 Upon information and belief,

Glenn did so at the direction of Herrman and/or an H&H associate.

         229. Stratso attempted to collect the “administrative fee” in relation to

Morales’ claim by sending a fax on H&H’s behalf to Progressive Commercial in

Island Heights, Ohio on October 21, 2019.106

         230. On May 12, 2020, Stratso followed up with an email to Progressive

employee, Kymber D. Fennell-Lewis, in Oklahoma City, again demanding

payment and specifically explaining “that our expenses are $198 per client[.]” 107




104   Ex. 16, December 19, 2019 Glenn fax.
105   See e.g., Ex. 5 at 5−6 (supplemental answer to interrogatory 9).
106   Ex. 18.
107   Ex. 14.

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         231. Stratso did so even though he and other Defendants knew that the

administrative expenses were only $7.55.108

         232. Thus, Count I RICO Defendants, through the RICO Enterprise,

communicated with the out-of-state insurers involved in Garza’s, Jones’s, and

Morales’ cases via interstate Internet wires as part of their scheme to collect the

unlawful and fraudulent $195 “administrative fee.”

         233. The out-of-state insurer paid H&H for Garza’s claim for the July 6,

2019 motor-vehicle accident, which included the $195 “administrative fee.”

         234. The foregoing interstate wire demands for the fraudulent and

unlawful administrative fees were made for the purpose of enriching H&H,

Herrman, and his associates at the expense of their clients. Stratso, Byerly, and

Glenn, and Luna, under the direction of Herrman, engaged in a pattern of

wrongful conduct through numerous predicate acts of wire fraud.

         235. Numerous similar predicate acts of wire fraud were committed by

these Defendants against their clients since early 2019, are ongoing, and will

continue into the future.




108   Ex. 6.

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         236. As a direct and proximate cause of the Count I RICO Defendants’ plan

and scheme, Count I RICO Defendants collected the unlawful $195 fraudulent

“administrative fee” from funds belonging to Garza in connection with his July 6,

2019 accident.109

         237. As of the filing of this complaint, Count I RICO Defendants have not

waived or abandoned their claims for the $195 “administrative fee” in connection

with Jones’ November 7, 2019 accident and still seek to collect it.

         238. Count I RICO Defendants have collected the unlawful $195

fraudulent administrative fees from funds belonging to thousands of clients since

early 2019 and continuing through present. Absent judicial intervention, these

Defendants will continue to collect the fraudulent $195 “administrative fee” from

clients into the future.

         239. Defendants intended to profit from their scheme and obtain property

belonging to Garza, Jones, Morales and the unnamed class members—specifically

the $195 fraudulent “administrative fee” to be collected from funds paid for their

personal-injury claims.




109   Ex. 11.

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      240. As described throughout this Complaint, Count I RICO Defendants

each agreed to the commission of the Wire Fraud. For example:

            a.     Herrman orchestrated and directed the fraudulent and

unlawful “Administrative Fee” wire fraud scheme, including representing the

“administrative fee” as a benefit for clients when its purpose was to enrich the

Firm, himself, and his associates at the expense of their clients. Herrman knew that

he and the other Count I RICO Defendants would use interstate wires to

accomplish their scheme, specifically by use of emails and faxes to insurers to

collect the fraudulent “administrative fee.”

            b.     Stratso agreed to carry out the fraudulent and unlawful

“Administrative Fee” scheme by having clients sign contracts with fraudulent

representations concerning the fee and signing the contract himself. Stratso knew

that he and the other Count I RICO Defendants would use interstate wires to

accomplish their scheme, specifically by use of emails and faxes to insurers to

collect the fraudulent and unlawful “administrative fee.”

            c.     Byerly agreed to carry out the fraudulent and unlawful

“administrative fee” scheme by signing representation agreements with

fraudulent representations concerning the fee.


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              d.   Byerly knew that she and the other Count I RICO Defendants

would use interstate wires to accomplish their scheme, specifically by use of emails

and faxes to insurers to collect the fraudulent and unlawful “administrative fee.”

              e.   Glenn agreed to carry out the fraudulent and unlawful

“Administrative Fee” scheme by sending interstate faxes to insurers attempting to

collect the fee.

              f.   Glenn knew that he and the other Count I RICO Defendants

would use interstate wires to accomplish their scheme, specifically by use of emails

and faxes to insurers to collect the fraudulent and unlawful “administrative fee.”

              g.   The activity of the RICO Enterprise, H&H, affects interstate

commerce. H&H regularly demands and receives payment from out-of-state

insurers for personal injury claims. Likewise, the predicate acts of racketeering

committed by Count I RICO Defendants (multiple acts of interstate wire fraud) are

themselves acts of interstate commerce, and certainly affect interstate commerce.

              h.   The Count I RICO Defendants transacted business across state

lines through the use of various instrumentalities of interstate commerce such as

faxes, email, and phone calls to communicate in furtherance of the RICO

Enterprise.


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             i.     H&H receives clients’ settlement payments in form of

negotiable instruments issued by out-of-state insurance carriers. Those negotiable

instruments are typically drawn on out-of-state bank accounts of the insurers.

H&H negotiates those negotiable instruments for the purpose of disbursing

settlement proceeds to its clients and collecting its fee.

             j.     H&H or its bank on its behalf received settlement payments for

some of its clients via interstate wire transfers from out-of-state defendants and

insurers.

             k.     The receipt and negotiation of these instruments and the receipt

of these wire transfers are interstate commerce and affect interstate commerce.

Both further RICO Defendants’ fraudulent administrative fee scheme.

             l.     Additionally, H&H uses a case management software called

FileVine, which is headquartered in Salt Lake City, Utah. All of Defendants’

settlement demands sent via email were transmitted to FileVine’s out-of-state

servers and data storage centers.

      241. The racketeering acts described herein, and others, had the same

pattern and similar purpose of taking money belonging to clients through the

fraudulent representation and imposition of the “administrative fee.” Each


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racketeering act was related, had a similar purpose, involved the same or similar

participants and methods of commission, and had similar results affecting

Plaintiffs and members of the Class.

      242. The racketeering acts, including multiple predicate acts of wire fraud

of 18 U.S.C. § 1343 (Wire Fraud), also related to each other in that they were part

of the RICO Persons’ goal of reaping unlawful profits through Herrman and his

associates’ fraudulent scheme of charging “administrative fees” bearing no

relation to actual administrative expenses.

             243. Plaintiffs Garza, Jones, and Morales, as well as members of the

Class, were deprived of money and property that they would not otherwise have

lost. As a direct and proximate result of the racketeering activities of Herrman,

Stratso, Byerly, Glenn, and Luna, Plaintiffs Garza, Jones, and Morales, and

members of the Class have been injured in their business and property.

             244. Plaintiffs Garza, Jones, Morales, and the Class are entitled to

treble their damages, plus interest, costs, and reasonable attorneys’ fees. 18 U.S.C.

§ 1964(c).




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                                     COUNT II
                                    RICO §1962(a)

 As Against Greg Herrman and Herrman & Herrman, PLLC on Behalf of Plaintiffs and
                                   the Class

        245. Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.

        246. Subsection 1962(a) prohibits a person who has received income from

a pattern of racketeering activity from investing that income in an enterprise. North

Cypress Med. Ctr. Operating Co. v. Cigna Healthcare, 781 F.3d 182, 202 (5th Cir. 2015).

To state a claim under § 1962(a), plaintiff must plead “(1) the existence of an

enterprise, (2) the defendant's derivation of income from a pattern of racketeering

activity, and (3) the use of any part of that income in acquiring an interest in or

operating the enterprise.” Id. (citing St. Paul Mercury Ins. Co. v. Williamson, 224 F.3d

425, 441 (5th Cir. 2000)). The Fifth Circuit has found no barrier to vicarious liability

under § 1962(a) when the principal has derived some benefit from the agent’s

wrongful acts. See Crowe v. Henry, 43 F.3d 198, 206 (5th Cir. 1995);110 accord Haroco,




110See also Practice Series, RICO, A Guide to Civil RICO Litigation in Federal
Courts, §25 The Enterprise Under §§ 1962 (a),(b), and (d) (“Because § 1962(a) and
§ 1962(b) do not deal with the notion of conducting a separate enterprise, most
courts have concluded that the person/enterprise distinction does not apply to

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Inc. v. Am. Nat'l Bank & Tr. Co., 747 F.2d 384, 401 (7th Cir. 1984) (“corporation-

enterprise [will be] liable under RICO when the corporation is actually the direct

or indirect beneficiary of the pattern of racketeering activity”).

      247. As pleaded in the foregoing paragraphs, H&H is an enterprise

engaged in and whose activities affect interstate commerce.

      248. In violation of 18 U.S.C. § 1962(a), Herman and H&H used and

invested income that was derived from a pattern of racketeering activity, i.e.,

collection of the fraudulent “administrative fee” through Wire Fraud (18 U.S.C. §

1343), for operation of an enterprise engaged in and whose activities affect

interstate commerce.

      249. Specifically, Herman and H&H used and invested profit from the

pattern of racketeering activity in administering the fraudulent “administrative




violations of those sections”); Landry v. Air Line Pilots Ass’n Int’l, 901 F.2d 404, 425
(5th Cir. 1990) (“ALPA can be both the enterprise and RICO defendant for the §
1962(b) violation. In contrast to the language of subsection (c) which “requires a
relationship between the ‘person’ and the ‘enterprise,’ subsection[…] (b) requires
only the use of an ‘enterprise’ by a ‘person.’’ Thus the RICO person and the
enterprise need not be distinct for a person to be held liable under subsection (b)”)
(emphasis original).

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fees” for the benefit and perpetuation of the racketeering enterprise, H&H, and the

fraudulent “administrative fee” scheme.

      250. The racketeering activity listed above constitutes a pattern of

racketeering activity pursuant to 18 U.S.C. § 1961(5).

      251. Further, as a direct and proximate result of Herman’s and H&H’s

racketeering activities and violations of 18 U.S.C. § 1962(a), Plaintiffs have been

injured in their business and property in that, on information and belief, collection

of the fraudulent “administrative fee” through Wire Fraud that has been invested

back into H&H and has funded successive racketeering acts, including imposition

of the fraudulent $195 “administrative fee” against Plaintiffs. See St. Paul Mercury

Ins. Co. v. Williamson, 224 F.3d 425, 443–444 (5th Cir. 2000) (“this Circuit’s precedent

dictates that a plaintiff ‘need prove only that illegally derived funds flowed into

the enterprise”) (quotation omitted); 1 Civil RICO P 3.07 (2021) (“For showing a

violation of § 1962(a), courts “readily find that the investment ‘caused’ plaintiff’s

injury if the money was invested in the same enterprise that was conducted

through a pattern of racketeering activity, reasoning that the money enabled the

business to keep operating and thereby keep perpetuating its fraudulent

activities”); see also Newmyer v. Philatelic Leasing, Ltd., 888 F.2d 385, 398 (6th Cir.


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1989), cert. denied, 495 U.S. 508 (1990) (if defendant used income derived from

racketeering activity to establish and operate the alleged scam in which the

plaintiffs put their money, “we do not see why it would be impossible for the

plaintiffs to show that they had been injured by a violation of § 1962(a)”)

(quotation omitted).

       252. Herrman and H&H benefit from this unlawful income derived from

a pattern of racketeering activity. Further, since H&H derived financial benefit

from Herrman’s investment of income received from a pattern of racketeering

activity, H&H is vicariously liable for his acts under § 1962(a). Crowe, 43 F.3d at

206.

       253. Plaintiffs Garza, Jones, and Morales and the Class are entitled to treble

damages, plus interest, costs, and reasonable attorneys’ fees. 18 U.S.C. § 1964(c).

                                     COUNT III
                                    RICO § 1962(d)

As Against Defendants Greg Herrman, Steven Stratso, Kyzmyck Byerly, Rodney Glenn,
                and Hector Luna on Behalf of Plaintiffs and the Class

       254. Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.




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       255. 18 U.S.C. § 1962(d) provides that “[i]t shall be unlawful for any person

to conspire to violate any of the provisions of subsection (a), (b), or (c) of this

section.” Count III RICO Defendants agreed to and conspired to violate U.S.C.

§1962(c).

      256. Specifically, and as more fully described for each RICO person under

Count I, the Count III RICO Defendants conspired to conduct and participate in

the conduct of the affairs of the enterprise through a pattern of racketeering

activity, i.e., the assessment and collection of the fraudulent “administrative fee”

through Wire Fraud. Under § 1962(d), the defendant need not operate or manage

the enterprise; rather, “1962(d) applies to ‘any person’ who conspires to violate

RICO.” United States v. Rosenthal, 805 F.3d 523, 532 (5th Cir. 2015).

       257. Herrman agreed to direct the RICO enterprise through a pattern of

racketeering activity by, among other things: (1) making the decision to charge and

set the amount of the fraudulent “administrative fees” billed to the client, and

controlling the payouts to H&H employees; (2) representing the $195

“administrative fee” as a reasonable charge for administrative expenses despite

the knowledge that the expenses are almost always a small fraction of that sum,

(3) representing the $195 “administrative fee” as a cost-saving measure for the


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client when it was actually profit for Herrman and his associates, (4) never

informing the clients that the $195 “administrative fee” was actually profit, and (5)

arranging for his associates and employees to take efforts to collect the fraudulent

“administrative fee.”

        258. Stratso agreed to carry out the fraudulent and unlawful

“administrative fee” scheme by signing client representation agreements with

fraudulent representations concerning the fee and never informing the client that

the “administrative fee” was actually profit, and by agreeing to take efforts to

collect the fraudulent “administrative fee,” including use of interstate wires to

insurers to collect the fee.

       259. Byerly agreed to carry out the fraudulent and unlawful

“administrative fee” by signing client representation agreements with fraudulent

representations concerning the fee and never informing the client that the

“administrative fee” was actually profit, and by agreeing to take efforts to collect

the fraudulent “administrative fee,” including use of interstate wires to insurers to

collect the fee.

       260. Glenn agreed to carry out the fraudulent and unlawful

“administrative fee” scheme by sending interstate faxes to insurers attempting to


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collect the fee. Glenn knew that he and the other RICO persons would use

interstate wires to accomplish their scheme, specifically by use of emails and faxes

to insurers to collect the fraudulent and unlawful “administrative fee.”

      261. Luna agreed to carry out the fraudulent and unlawful “administrative

fee” by having clients sign the agreements with fraudulent representations

concerning the fee and never informing them that the “administrative fee” was

actually profit.

      262. Count III RICO Defendants intentionally conspired and agreed to

directly and indirectly conduct and participate in the conduct of the affairs of the

enterprise through a pattern of racketeering activity. The Count III RICO

Defendants adopted the goal of furthering or facilitating the collection of the

fraudulent “administrative fee” through Wire Fraud.

      263. As direct and proximate result of the Count III RICO Defendants’

conspiracy, the overt acts taken in furtherance of that conspiracy and violations of

18 U.S.C. § 1962(d), Plaintiffs have been injured in their business and property with

Count III RICO Defendants having assessed the fraudulent $195 “administrative

fee” from their personal injury settlements.




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      264. Plaintiffs Garza, Jones, and Morales and the Class at large are entitled

to treble damages, plus interest, costs, and reasonable attorneys’ fees. 18 U.S.C. §

1964(c).

                                    COUNT IV
                                 Common Law Fraud

As Against All Defendants on Behalf of Plaintiffs and on Behalf of the Class

      265. Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.

      266. Plaintiffs and the Class allege common-law fraud against all

Defendants in connection with (1) the fraudulent “administrative fee” and (2) the

provision giving H&H control of whether a client settles a claim.

       267. In Texas, the elements of common law fraud are: (1) that a material

representation was made; (2) the representation was false; (3) when the

representation was made, the speaker knew it was false or made it recklessly

without any knowledge of the truth and as a positive assertion; (4) the speaker

made the representation with the intent that the other party should act upon it; (5)

the party acted in reliance on the representation; and (6) the party thereby suffered

injury.” Allstate Ins. Co v. Receivable Fin. Co. LLC, 501 F.3d 398, 406 (5th Cir. 2007)

(citing In re FirstMerit Bank, N.A., 52 S.W.3d 749, 758 (Tex. 2001)).

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          268. As set forth above, all Defendants made material representations

about the “administrative fee” in that they represented $195 as a reasonable fee to

cover copies, postage, phone calls, scanned documents, faxes, and miscellaneous

supplies.111 While they represent the “administrative fee” as a money-saving

measure for pre-litigation clients, since clients who file suit must pay “all

expenses,” they know that this representation is false because these expenses

almost always amount to a small fraction of the $195 fee. The details of these

material misrepresentations are set forth in more detail in Count I and the

preceding sections, which are incorporated herein by reference.

          269. Alternatively, all Defendants made these representations recklessly

without any knowledge of the truth and as a positive assertion. Defendants

represented the $195 fee as a benefit and not as including profit so that the Plaintiffs

and class members would sign the representation agreement, which included the

fee.




111   Ex. 1 at 1; Ex. 2 at 2; Ex. 3 at 3; Ex. 4 at 4.

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          270. Plaintiffs and class members signed the representation agreements in

reliance on this false representation and suffered injury in the form of the unlawful

$195 “administrative fee” taken from their settlement proceeds.

          271. Additionally, Defendants made material representations about the

validity of the H&H representation agreement, which precludes clients from

settling claims with “the complete approval” of H&H.112

          272. While Defendants represent this as a valid provision in the agreement,

they know that it is not or alternatively made it recklessly without any knowledge

of the truth and as a positive assertion.

          273. Defendants made this representation so that Plaintiffs and the Class

would sign the representation agreements. Plaintiffs and class members signed the

representation agreements in reliance on this false representation and suffered

injury in the form of the loss of control over their ability to settle and Defendants’

collection of unlawful attorneys’ fees from their settlements. See Tex. Disciplinary

R. Prof’l Cond. 1.02(a)(2) & cmt 5 (“the client may not be asked … to surrender …




112   Ex. 1 at 2 ¶c; Ex. 2 at 2 ¶c; Ex. 3 at 2 ¶c; Ex. 4 at 2 ¶c.

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the right to settle”); Lopez, 2016 WL 8924108, at *3; Davis Law Firm, 2014 WL 585855,

at *4; Plaza, 363 B.R. at 521–22; Sanes, 25 S.W.3d at 805.

      274. Defendants’ representations to Plaintiffs were material because they

were intended to induce Plaintiffs and the class to retain their legal services.

      275. The foregoing misrepresentations were made willfully and with

knowledge of their falsity when made.

      276. Plaintiffs Garza, Jones, and Morales and the Class are entitled to actual

damages and exemplary damages. Tex. Civ. Prac. & Rem. Code § 41.003(a).

                                     COUNT V
                              Breach of Fiduciary Duty

 As Against Defendants Greg Herrman, Steven Stratso, Kyzmyck Byerly, and Herrman
                  & Herrman on Behalf of Plaintiffs and the Class

       277. Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.

       278. This Count is alleged against Herrman, Stratso, Byerly, and H&H. In

Texas, the elements of breach of fiduciary duty are: (1) a fiduciary relationship

between the plaintiff and defendant; (2) the defendant must have breached his or

her fiduciary duty to the plaintiff; and (3) the defendant's breach must result in

either injury to the plaintiff or benefit to the defendant. See Navigant Consulting,


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Inc. v. Wilkinson, 508 F.3d 277, 283 (5th Cir. 2007) (quoting Jones v. Blume, 196

S.W.3d 440, 447 (Tex. App.—Dallas 2006, pet. denied)); R.P. Small Corp. v. Land

Dep't, Inc., 505 F. Supp. 3d 681, 693-94 (S.D. Tex. Dec. 7, 2020).

      279. As a matter of law, the Count V Defendants had fiduciary

relationships with Plaintiffs and the Class, who are all former clients of Count V

Defendants. “The relationship existing between attorney and client is

characterized as highly fiduciary, and requires proof of perfect fairness’ on the

part of the attorney.” Sealed Party v. Sealed Party, No. H-04-2229, 2006 U.S. Dist.

LEXIS 28392, at *22-23 (S.D. Tex. Apr. 28, 2006) (quoting Jackson Law Office, P.C. v.

Chappell, 37 S.W.3d 15, 22 (Tex. App.-Tyler 2000, pet. denied) (quoting Archer v.

Griffith, 390 S.W.2d 735, 739, 8 Tex. Sup. Ct. J. 87 (Tex. 1964)). This relationship is

described “as one of uberrima fides, which means, ‘most abundant good faith,’

requiring absolute and perfect candor, openness and honesty, and the absence of

any concealment or deception.” Id. at 23 (quoting Hefner v. State, 735 S.W.2d 608,

624 (Tex. App.-Dallas 1987, writ ref'd) (citing State v. Baker, 539 S.W.2d 367, 374

(Tex. Civ. App.-Austin 1976, writ ref'd n.r.e.)).

      280. The Count V Defendants breached their fiduciary duties to Plaintiffs

and the Class through the deceptive and fraudulent “administrative fee,” which


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they misrepresented as a benefit to the client rather than what it is—profit for the

firm. See Texas Ethics Opinion 594 (attorney cannot profit on expenses without

“the client underst[anding] and accept[ing] that the amounts billed by the lawyer

for expenses would include this additional compensation”); see also A.B.A. Op.

93-379; see also Tex. Disc. R. Prof’l Cond. 1.04, 8.04; cf. Anglo-Dutch Petroleum, 352

S.W.3d at 450 (part of lawyer’s fiduciary duty to a client “is to inform the client of

all material facts”); Levine, 40 S.W.3d at 96 (“one facet of a lawyer’s duty to the

client … [is] to inform a client of the basis or rate of the fee at the outset of the

matter” and the attorney has to obligation to clarify agreements since the attorney

has “greater knowledge and experience with respect to fee arrangements and

because the trust [the] client has placed in [the attorney]”) (quotation omitted);

see also Floyd v. Hefner, 556 F. Supp. 2d 617, 661 (S.D. Tex. 2008) (“[e]xamples of

breaches of an attorney's fiduciary duty include benefitting improperly from the

attorney-client relationship by subordinating the client's interests to the

attorney's, retaining the client's funds, engaging in self-dealing, improperly using

the client's confidences, failing to disclose conflicts of interest, and making

misrepresentations to obtain these results”).




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      281. They further breached their fiduciary duty to the Class by failing to

tell their clients that some of the so-called expenses covered under the

“administrative fee” are not expenses at all. For example, upon information and

belief, H&H pays no expense for long-distance phone calls. Yet, Defendants

represent long-distance phone calls as part of the package of benefits covered

under the $195 “administrative fee.” The details of these misrepresentations are

set forth in Count I and preceding sections and are incorporated into this Count

by reference.

      282. The Count V Defendants also breached their fiduciary duties to

Plaintiffs and the Class since at least July 2019 and continuing through present by

contracting for complete control over their clients’ right to settle their personal-

injury claims.

      283. The Count V Defendants included this provision in all representation

agreements even though it was clear that it violates Texas law and rendered the

agreements void. See Tex. Disciplinary R. Prof’l Cond. 1.02(a)(2) & cmt 5; Plaza, 363

B.R. at 521 (“A clause in a retainer agreement prohibiting the client from settling

without the attorney's consent is void as against public policy”) (quoting ABA

Comm. On Ethics and Prof’l Responsibility, Formal Op. 326 (1970) (quoting Henry


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S. Drinker, Legal Ethics, 101 (Columbia Univ. Press 1953)); Lewis, 534 F.2d at 1122;

accord Giles v. Russell, 222 Kan. 629, 567 P.2d 845, 850 (1977) ("employment contract

which prevents the client from settling without the consent of the attorney is void

as against public policy").

         284. Indeed, a state district court judge already found (before the claims

were nonsuited without prejudice) that this specific provision violates Texas

Disciplinary Rule of Professional Conduct 1.02(a) and renders the agreements

void.113

         285. This provision demonstrates further intent by Count V Defendants to

place their financial interests ahead of their clients. In addition to their self-dealing

with the fraudulent “administrative fee,” they contracted for the right to reject

settlements if they don’t like their fees—even when the client wants to settle. See

Plaza, 363 B.R. 517 at 521-22 (“giving an attorney decision making power over

whether to settle a case or proceed to trial, could force a litigant to hazard the

outcome of litigation in order to secure a higher contingency fee for the attorney”).

As with an attorney who enters into an aggregate settlement without the consent




113   Ex. 19.

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of clients, this is a clear and serious breach of fiduciary duty because it “may result

in a benefit to the attorney … to the detriment of the clients[.]” In re Rosenthal &

Watson, P.C., 612 B.R. 507, 555 (Bankr. W.D. Tex. 2020).

      286. The Texas Supreme Court holds that a client need not show causation

or actual damages to obtain forfeiture of an attorney’s fee for the attorney’s breach

of fiduciary duty to the client. Burrows v. Arce, 997 S.W.2d. 229, 240−42 (Tex. 1999)

(“An agent’s breach of fiduciary duty should not be deterred even when the

principal is not damaged”); In re Allied Physicians Grp., P.A., Nos. 397-31267-BJH-

11, 3:04-CV-0765-G, 2004 U.S. Dist. LEXIS 25389, at *14 (N.D. Tex. 2004) (“Under

Texas law, once a breach of fiduciary duty is found, a party is not required to prove

injury or causation where the remedy is partial or total forfeiture”).

      287. Further, if the fiduciary "takes any gift, gratuity, or benefit in violation

of his duty, or acquires any interest adverse to his principal, without a full

disclosure, it is a betrayal of his trust and a breach of confidence, and he must

account to his principal for all he has received." Burrow, 997 S.W.2d at 239 (citing

Kinzbach Tool Co. v. Corbett-Wallace Corp., 138 Tex. 565, 160 S.W.2d 509, 514 (Tex.

1942)). That is, “all compensation received by a disloyal fiduciary is forfeited.”

Allied Physicians, 2004 U.S. Dist. LEXIS 25389, at *14 (emphasis added).


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         288. Here, based on Count V Defendants’ multiple clear and serious

breaches of fiduciary duty, all fees collected by Count V Defendants from Plaintiff

Garza and the proposed class should be forfeited and placed in constructive trust

for Plaintiffs and the proposed class. See Lincoln Gen. Ins. Co. v. U.S. Auto Ins. Servs.,

787 F.3d 716, 728 (5th Cir. 2015) ("Equitable remedies, such as . . . the imposition of

a constructive trust, may be awarded for breach of the higher standards of conduct

demanded in the fiduciary relationship.").

         289. Based on an estimated 6,435 clients signed by Herrman since July 8,

2019,114 and a conservative estimate of $1,000 in attorneys’ fees recovered on

average (with some cases involving much more and others none at all), Plaintiffs

and the Class seek a disgorgement of at least $6,435,000 in attorneys’ fees.

                                       COUNT VI
                                  Declaratory Judgment

         As Against All Defendants on Behalf of Plaintiffs and on Behalf of the Class

         290. Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.




114   See supra n. 67.

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            291. Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201

and Rule 57 of the Federal Rules of Civil Procedure, Plaintiffs and the Class

petition this Court for a judgment declaring H&H’s representation agreements

with the Plaintiff and the Class Members void as against public policy. See Tex.

Disciplinary R. Prof’l Cond. 1.02(a)(2) & cmt 5; Davis Law Firm, 2014 WL 585855, at

*4; Plaza, 363 B.R. at 521–22; Sanes, 25 S.W.3d at 805.

            292. As described in the foregoing paragraphs, H&H’s representation

agreements prohibit clients from settling claims without the firm’s “complete

approval.”115 Since at least July 8, 2019, the agreements have prevented clients from

“obtain[ing] any settlement of the aforesaid claims without the complete approval

of the Attorney.”116

            293. With respect to the Plaintiffs, H&H entered into a written agreement

with Plaintiff Garza on July 8, 2019 that contained the provision giving the firm

control over whether Garza settled his claims.117




115   Ex. 1 at 2 ¶c; Ex. 2 at 2 ¶c; Ex. 3 at 2 ¶c; Ex. 4 at 2 ¶c.
116   Id.
117   Ex. 1 at 2 ¶c.

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          294. H&H entered into a written agreement with Plaintiff Garza on

September 20, 2019 with the same restriction on settling his claims. 118

          295. H&H entered into a written agreement with Plaintiff Jones on

November 11, 2019 that contained the same restriction on settling her claims. 119

          296. H&H entered into a written agreement with Plaintiff Morales on

September 20, 2019 that contained the same restriction on settling her claims. 120

          297. Since July 8, 2019, Defendants have likely entered into at least 4,290

representation agreements (and possibly as many as 6,435 or more) with this

unlawful provision.121

          298. An actual controversy has arisen and now exists between Plaintiffs

and the Class and H&H regarding the validity of the representation agreements

and the Firm’s entitlement to fees thereunder. H&H has improperly collected or

attempted to collect attorneys’ fees from the Plaintiffs and the Class under

representation agreements that are void as a matter of law.




118   Ex. 2 at 2 ¶c.
119   Ex. 3 at 2 ¶c.
120   Ex. 4 at 2 ¶c.
121   See supra n. 67.

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         299. Specifically, H&H collected $6,475 in attorneys’ fees against Plaintiff

Garza under the July 8, 2019 representation agreement containing this unlawful

provision.122

         300. H&H attempted to collect fees against Plaintiff Garza under the

September 20, 2019 agreement (involving a different motor vehicle accident)

containing this unlawful provision.

         301. H&H also attempted to collect fees against Plaintiff Jones under the

November 7, 2019 agreement containing this unlawful provision.

         302. H&H also attempted to collect fees against Plaintiff Morales under the

September 20, 2019 agreement containing this unlawful provision.

         303. Garza, Jones, and Morales filed suit against Greg Herrman and H&H

in state court after the firm attempted to collect attorneys’ fees despite this

unlawful provision and the Firm performing essentially no work. See Morales and

Garza v. Greg Herrman, Attorney at Law and Herrman & Herrman, PLLC, No.

2020DCV-1662-H (Aug. 20 Original Petition, 347th Nueces County Dist. Ct.,

Texas); Jones v. Greg Herrman Attorney at Law and Herrman & Herrman, 2021DCV-




122   Ex. 11.

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2168-C (94th District Court, Nueces County, Texas). As noted, Garza, Jones, and

Morales nonsuited their claims upon discovery of facts giving rise to RICO claims.

Before the nonsuit, however, the 347th district court granted a partial summary

judgment in favor of Garza and another client, finding that the provision rendered

the representation agreements voidable.123

         304. A judicial declaration is necessary and appropriate at this time under

all the circumstances so that Plaintiffs and the Class may determine their rights

and duties under the contract—specifically whether H&H is entitled to fees

collected under representation agreements containing this unlawful provision that

renders the agreements void as a matter of public policy. See Davis Law Firm, 2014

WL 585855, at *4 (“because the contingent fee agreement prohibited settlement

without [attorney’s] consent, it was unenforceable as against public policy.”);

Plaza, 363 B.R. at 521–22 (“Clauses in a contract between attorney and client which

prohibit a settlement by the client without his attorney's consent are generally held

to be unenforceable as against public policy.”); compare Sanes, 25 S.W.3d 800




123   Ex. 19.

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(contractual provision allowing attorney authority to settle without consultation

with client rendered entire contract voidable).

         305. Although the resolution of the declaratory action claim is primarily a

question of Texas contract law, Plaintiffs’ RICO claims would not resolve the issue

at the heart of the declaratory judgment claim, accordingly it is “appropriate to

exercise jurisdiction over Plaintiff’s declaratory judgment claim.” Shea v. Best Buy

Homes, No. 1:20-CV-02387-SCJ, 2021 U.S. Dist. LEXIS 137995, at *31-33 (N.D. Ga.

2021).

         306. Plaintiffs and the Class therefore seek a judicial determination that the

provision in H&H’s representation agreements that gives the Firm “complete”

control over settlement renders the representation agreements void as against

public policy. Plaintiffs and the Class additionally seek a declaration that H&H is

not entitled to attorneys’ fees sought or collected under these representation

agreements. Alternatively, Plaintiffs and the Class seek a declaration that H&H are

only entitled to reasonable fees for work actually performed on behalf of Plaintiffs

and the Class that can be proven.




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                                 COUNT VII
                           Common-law Civil Conspiracy

      As Against All Defendants on Behalf of Plaintiffs and on Behalf of the Class

      307. Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.

      308. This Count is alleged against all Defendants.

      309. Plaintiffs and the Class allege civil conspiracy against all Defendants

in connection with (1) fraud in representing, charging, and collecting the

“administrative fee” and (2) breaching their fiduciary duty to their clients in

retaining complete control over whether they settle their claims.

      310. The elements of civil conspiracy in Texas are (1) two or more persons;

(2) an object to be accomplished; (3) a meeting of minds on the object or course of

action; (4) one or more unlawful, overt acts; and (5) damages as the proximate

result. United Biologics, L.L.C. v. Allergy & Asthma Network, 819 F. App'x 204, 208

(5th Cir. 2020) (citing Massey v. Armco Steel Co., 652 S.W.2d 932, 934 (Tex. 1983)).

      311. Here, Defendants agreed to collect profit from their clients through

administrative expenses by not only representing that the $195 “administrative

fee” was reasonable without disclosing that it was mostly profit, but also in

representing that the clients would benefit from the flat fee charge. The Defendants

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had a meeting of the mind on the object of the conspiracy, unlawfully collecting

fraudulent expenses, and on the course of action—misrepresenting the nature of

the fraudulent “administrative fees” and then taking measures to collect them.

These misrepresentations concerning the fees and the efforts taken by Defendants

to collect them are unlawful, overt acts. Plaintiffs and the Class suffered damages

as a proximate result—paying the unlawful $195 fraudulent “administrative fees”

from their settlement funds. It was reasonably foreseeable, and in fact deliberately

orchestrated, that Plaintiffs and the Class would pay the fraudulent $195

“administrative fees” when Defendants knew that actual expenses were only a

fraction of that amount.

      312. Defendants also committed civil conspiracy to breach their fiduciary

duty to Plaintiffs and the Class by agreeing to have them sign H&H representation

agreements in which the Firm retained exclusive control over whether the clients

settled their claims. Defendants took one or more unlawful acts, including this

provision in the representation agreements and having the clients sign the

agreements, and Plaintiffs and the Class were damaged as the proximate result.

Specifically, Plaintiffs and the Class suffered injury in the form of the loss of




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control over their ability to settle and Defendants’ collection of unlawful attorneys’

fees from their settlements. See supra.

      313. Plaintiffs Garza, Jones, and Morales and the Class at large are entitled

to actual damages and exemplary damages. Tex. Civ. Prac. & Rem. Code §

41.003(a).

                                    COUNT VIII
                                  Unjust Enrichment

As Against All Defendants on Behalf of Plaintiffs and on Behalf of the Class

      314. Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.

      315. This Count is alleged against all Defendants.

      316. As an alternative claim for relief, Plaintiffs and the Class allege all

Defendants were unjustly enriched through the representing, charging, and

collecting the “administrative fee”.

      317. In Texas, unjust enrichment is an equitable doctrine that allows

recovery in quasi-contract or restitution if a contemplated agreement is

“unenforceable, impossible, not fully performed, thwarted by mutual mistake, or

void for other legal reasons.” French v. Moore, 169 S.W.3d 1, 11 (Tex. App.—

Houston [1st Dist.] 2004, no pet.). It is typically found to apply where one person

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has obtained a benefit from another by fraud, duress, or the taking of an undue

advantage. Burlington N. R. Co. v. S.W. Elec. Power Co., 925 S.W.2d 92, 97 (Tex.

App.—Texarkana 1996), aff'd sub nom S.W. Elec. Power Co. v. Burlington N. R. Co.,

966 S.W.2d 467 (Tex. 1998).

      318. Defendants collected profit from their clients through administrative

expenses by representing that the $195 “administrative fee” was reasonable

without disclosing that it was mostly profit, and representing that the clients

would benefit from the flat fee charge. The Defendants represented to Plaintiffs

and the Class that they would receive the benefit of a bargain whereby Defendants

incurred and paid for certain expenses (e.g., faxes, copies, scans, long distance

phone calls, etc.) and Plaintiffs and the Class would be charged a flat rate of $195

regardless of the actual expenses in those categories. In fact, actual expenses

incurred in those categories were routinely far lower than the $195 charged by

Defendants, resulting in a windfall to Defendants. Defendants’ failure to advise

Plaintiffs and the Class of the true profit-motive behind the “administrative fee”

was a fraud and misrepresentation and took advantage of the Plaintiffs’ and class’s

lack of knowledge concerning the likely actual expenses known to Defendants. It

would be unjust and inequitable to allow Defendants to retain ill-gotten profits


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based on their failure to advise Plaintiffs and the Class of the profit sought and

collected by Defendants in the form of this “administrative fee”.

      319.   Defendants were also unjustly enriched by the collection of

contingency fees that were premised on a void and unethical attorney

representation agreement. Specifically, Defendants had Plaintiffs and the

Class sign H&H representation agreements in which the firm retained

exclusive control over whether the clients could settle their claims. Such a

provision wrongfully denied Plaintiffs and the Class of the right to control

their case and rendered the entire contract, including any contingency fees

premised thereon, void. Plaintiffs and the class suffered injury in the form

of the loss of control over their ability to settle and Defendants’ collection of

unlawful attorneys’ fees from their settlements. See supra.

      320. Plaintiff Garza and the Class are entitled to actual damages in the

amount of $195 for the fraudulent “administrative fee” that was collected by

Defendants from Plaintiffs’ settlements. Plaintiff Garza and the Class are

further entitled to actual damages in the amount of contingency fees




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collected by Defendants that were premised upon the void contracts drafted

and prepared by Defendants.

          DISCOVERY RULE AND FRAUDULENT CONCEALMENT

Texas’ Discovery Rule Applies to Plaintiffs’ and Class Members’ State Law and
Declaratory Judgment Claims

       321. Plaintiffs and the Class incorporate by reference the foregoing

allegations as if fully set forth herein.

       322. Plaintiffs, on behalf of themselves and all putative class members,

affirmatively plead the discovery rule with regard to any statute of limitations

affirmative defense pleaded or otherwise argued by any Defendant. See S.V. v.

R.V., 933 S.W.2d 1, 4 (Tex. 1996) (“Strictly speaking, the cases in which we have

deferred accrual of causes of action for limitations purposes fall into two

categories: those involving fraud and fraudulent concealment, and all others. The

deferral of accrual in the latter cases is properly referred to as the discovery rule.”).

       323. “Restated, the general principle is this: accrual of a cause of action is

deferred in cases of fraud or in which the wrongdoing is fraudulently concealed

and in discovery rule cases in which the alleged wrongful act and resulting injury

were inherently undiscoverable at the time they occurred but may be objectively

verified.” Id. at 6.

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      324. In addition to its application to Plaintiffs’ state law claims, the

discovery rule is applicable to declaratory judgments sought in federal court. See,

e.g., Delhomme v. Caremark Rx, Inc., No. 3:05-CV-505-R, 2006 U.S. Dist. LEXIS 46037,

at *8-*15 (N.D. Tex. Jul. 7, 2006) (analyzing Texas state law regarding the discovery

rule and fraudulent concealment for purposes of deciding summary judgment

motion against declaratory judgment claim).

      325. Plaintiffs’ injuries were inherently undiscoverable, as a matter of law,

because of the attorney-client and fiduciary relationship between Plaintiffs and

their lawyers. See Willis v. Maverick, 760 S.W.2d 642, 644 (Tex. 1988) (“[t]he special

relationship between an attorney and client further justifies imposition of the

discovery rule”); see also Simmons v. Simmons, No. 03-15-00008-CV, 2016 Tex. App.

LEXIS 353, at *8 (Tex. App.—Austin 2016, no pet.) (“The Texas Supreme Court has

held that there is a presumption that a fiduciary’s misconduct is inherently

undiscoverable, the rationale being that a person owed a fiduciary duty is ‘either

unable to inquire into the fiduciary’s actions or unaware of the need to do so’”)

(citing S.V., 933 S.W.2d at 8).

      326. Plaintiffs’ injuries and injuries of the Class were also inherently

undiscoverable because they were “by nature unlikely to be discovered within the


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prescribed limitations period despite due diligence.” S.V., 933 S.W.2d at 7. “Even

apart from such a relationship, we have indicated that the discovery rule applies

when it is otherwise difficult to learn of the wrongful act.” Id. at 6.

      327. Defendants’ scheme made it virtually impossible to learn of their

wrongful acts. They misrepresented the $195 “administrative fee” as a cost-

savings. They never provided an itemized statement of administrative costs to

their clients. Plaintiffs and the Class would never have reason to know that their

actual costs were far less than the $195 “administrative fee” charged by

Defendants.

      328. Similarly, as non-lawyers, Plaintiffs and the Class had no reason to

know that the surrender of their rights to settle their claims without H&H

approval was fraudulent and a breach of fiduciary duty.

      329. Plaintiffs’ injuries—and those of putative class members—may be

objectively verified. See S.V., 933 S.W.2d at 15 (“[t]o invoke the discovery rule, a

plaintiff’s claim must be ‘inherently undiscoverable’ and ‘objectively verifiable[,]’”

which can be proven by “direct, physical evidence”). They can be proven by direct,

physical evidence. Defendants overcharged Plaintiffs and the Class for

administrative costs. The $195 “administrative fee” was not a cost-savings because


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the clients actual administrative costs were far below the $195 “administrative

fee.”

        330. The H&H representation agreement itself is such evidence. H&H’s

records regarding receipt of the $195 “administrative fee” is direct evidence. H&H

client account statements, which do not itemize administrative costs, are also

direct evidence. Settlement distributions to H&H which deduct the $195

“administrative fee” are also direct evidence.

        331. Similarly, it is indisputable that H&H stripped their clients of the

authority to settle their claims in the representation agreement. And that may also

be proved by direct evidence.

The “Injury Discovery Rule” Applies to Plaintiffs’ and Class Members’ RICO Claims.

        332. “This Circuit has adopted an ‘injury discovery rule,’ whereby a civil

RICO claim accrues when the plaintiff discovers, or should have discovered the

injury.” Joseph v. Bach & Wasserman, LLC, 487 Fed. App’x 173, 176 (5th Cir. 2012)

(“It is discovery of the injury, and not other elements of a RICO claim, that starts

the limitations period running.”) (citing Rotella v. Wood, 528 U.S. 549, 556 (2000)).




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      333. Neither Plaintiffs nor class members discovered or should have

discovered their injuries before the date that would otherwise put their RICO

claims outside its four-year statute of limitations.

Defendants’ Fraud and Fraudulent Concealment Delayed the Accrual of and/or Tolled the
Statute of Limitations for Plaintiffs’ and Class Members’ RICO, State Law, and
Declaratory Judgment Claims.

      334. Plaintiffs, on behalf of themselves and all putative class members,

affirmatively plead Defendants’ fraud and fraudulent concealment with regard to

any statute of limitations affirmative defense pleaded or otherwise argued by any

Defendant. See C.V., 933 S.W.2d at *6 (“Fraud, we have said, in and of itself

prevents running of the statute of limitations.”); Klehr v. A.O. Smith Corp., 521 U.S.

179, 194 (1997) (“We limit our consideration of the question to the context of civil

RICO. In that context, we conclude that ‘reasonable diligence’ does matter, and a

plaintiff who is not reasonably diligent may not assert ‘fraudulent concealment.’”).

      335. In addition to their application to Plaintiffs’ state law and RICO

claims, fraud and fraudulent concealment may act to toll the statute of limitations

for declaratory judgments sought in federal court. See, e.g., Delhomme, 2006 U.S.

Dist. LEXIS 46037, at *8-*15 (analyzing Texas state law regarding the discovery




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rule and fraudulent concealment for purposes of deciding summary judgment

motion against declaratory judgment claim).

      336. Defendants fraudulently concealed the actual costs charged to their

clients by producing final account statements that do not contain an itemized

breakdown of expenses actually incurred.

      337. Defendants represented the $195 “administrative fee” as a cost-

savings, creating the false belief in their clients that the $195 “administrative fee”

was reasonable and in fact would be preferrable to having to pay actual expenses

like clients who have to file suit.

      338. Defendants did not disclose to Plaintiffs or the Class that they do not

actually incur costs for some of the services included within the $195

“administrative fee.”

      339. Defendants never disclosed to Plaintiffs or the Class that most of the

$195 “administrative fee” was profit.




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         340. Defendants made material representations about the validity of the

H&H representation agreement, which precludes clients from settling claims with

“the complete approval” of H&H.124

         341. While Defendants represent this as a valid provision in the

agreement, they know that it is not or alternatively made it recklessly without any

knowledge of the truth and as a positive assertion.

         342. At all times, Plaintiffs—and putative class members—exercised

reasonable diligence.

         343. As such, the four-year statute of limitations for RICO claims was

either tolled or Defendants are estopped from asserting the statute of limitations

as an affirmative defense.

                                  PRAYER FOR RELIEF

         WHEREFORE, PREMISES CONSIDERED, Plaintiffs and the proposed Class

pray for the following relief:

a.       Certification of this case as a class action on behalf of the Class defined

above, appointing Arturo Garza, Laquinta Jones, and Doris Morales as




124   Ex. 1 at 2 ¶c; Ex. 2 at 2 ¶c; Ex. 3 at 2 ¶c; Ex. 4 at 2 ¶c.

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representatives of the Class and appointing the undersigned, , Mikell A. West, and

Robert W. Clore, Bandas Law Firm, PC, as co-lead class counsel.

b.     An order finding that Defendants’ actions, as set out above, violate RICO,

18 U.S.C. § 1962(a), and constitute Wire Fraud 18 U.S.C. § 1343; violate RICO 18

U.S.C. § 1962(c); and constitute a conspiracy to commit RICO violations, 18 U.S.C.

§ 1962(d).

c.     An order granting declaratory judgment that the provision in H&H’s

representation agreements that gives the firm “complete” control over settlement

renders the representation agreements void as against public policy.

d.     An order granting declaratory judgment that H&H is not entitled to

attorneys’ fees sought or collected under the void representation agreements.

Alternatively, Plaintiffs and the Class seek a declaration that H&H are only

entitled to reasonable fees for work actually performed on behalf of Plaintiffs and

the Class that can be proven.

e.     An order finding H&H breached its fiduciary duty to Plaintiffs and the Class

and ordering disgorgement of attorneys’ fees collected by H&H from Plaintiffs

and the Class.

f.     An order finding H&H committed common-law fraud and civil conspiracy.


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g.     In the alternative, an order finding H&H was unjustly enriched Defendants

were unjustly enriched to the extent actual “administrative expenses” incurred on

behalf of the Class were less than the $195 administrative fee and enriched by

collection of a contingency fee based upon a void contract.

h.     Judgment against Defendants and in favor of Plaintiffs and the Class for

monetary, actual, consequential, and compensatory damages caused by their

unlawful conduct.

i.     An award to Plaintiffs and the Class for statutory damages;

j.     An award to Plaintiffs and the Class for punitive damages;

k.     An award to Plaintiffs and the Class for attorney’s fees, costs and expenses

of suit;

l.     An award to Plaintiffs and the Class for pre and post-judgment interest; and

m.     An award for such other and further relief to which Plaintiffs and the Class

may be entitled at law or in equity.

                            DEMAND FOR JURY TRIAL

       Plaintiffs and the Class demand a trial by jury for all issues so triable.




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  SIGNED: April 14, 2022

                                        Respectfully submitted,



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                                behalf of all others similarly situated




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